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l                             UNITED STATES DISTRICT COURT

2                           CENTRAL DISTRICT OF CALIFORNIA

3
          THE INSURANCE COMPANY OF                 CASE NO. EDCV16-00128 PSG
4         THE STATE OF PENNSYLVANIA                (SSx)
s
                       Plaintiff,                  [PROPOSED] FINAL PRETRIAL
6                                                  CONFERENCE ORDER
                  V.


7
          THE COUNTY OF SAN
8
          BERNARDINO, a California public
9         entity

10                     Defendant.
11

                                                   Courtroom:      6A
12 ll COUNTY OF SAN BERNARDINO, a
                                                   PTCD,ite: Ju0y24,2017
                                                                tly
   ll California public entity                     PTC Time:       2: 30 p.m.
13 11

14
                       Counterclaimant,            Honorable Philip S. Gutierrez

15                V.                               Complaint Filed: January 21, 2016

16 11 THE INSURANCE COMPANY OF
                                                   Trial Date: September s, 2017
1, II THE STATE OF PENNSYLVANIA, a
     ll Pennsylvania insurance company
18
     ll                Counterdefendant.
19

20

21

22

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1

2
                Following pretrial proceedings, pursuant to F.R.Civ.P. 16 and L.R. 16, IT IS
3
- 11 oRDERED:
4
- 11            1. THEPARTIES
s
                The parties are plaintiff and counter-defendant The Insurance Company of the
6
        State of Pennsylvania (?ICSOP?) and defendant and counterclaimant the County of
7
        San Bernardino (the ?County?).
8
                Each of these parties has been served and has appeared. All other parties
9
        named in the pleadings and not identified in the preceding paragraph are now
10
" 11 dismissed.
11
                The pleadings which raise the issues are ICSOP's First Amended Complaint
12 11                                             .
     ll (Dkt. 81 ), the County's First Amended Answer (Dkt. 84), the County's Corrected
1311                .                                             ,                                 ,                       .
     11 Counterclaim (Dkt. 16) and ICSOP s Answer to the County s Counterclaim (Dkt.
14 11 s s:,.
15
                ICSOP contends the Court has resolved ICSOP's first cause of action (Dkt.
1611                                                                            .               .       .                   ..
     ll 45). The County has asked the Court to reconsider and withdraw its decision (Dkt.
1711                    ..                            .                                 ..
     11 93). A hearing is set for Friday, July 21, 2017 on this motion and two others: the
1811                        .                 .                       .                 .                                        .
     ll County's motion for partial summary 3udgment on notice; and ICSOP's motxon for
1911 .                          .                                                                                   ,
     11 partial summary )udgment on the number of occurrences and attorneys fees.
20
                ICSOP is no longer pursuing its fourth cause of action for declaratory relief
2111            .                        .                .                         .       .               .
     ll regarding the duty to indemmfy. ICSOP also withdraws its first, third, twelfth and
2211.                               .                                           ..                              .
     11 thirteenth affirmative defenses. The County withdraws its first and thirteenth
23
        affirmative defenses.
24
" 11            2. FEDERAL JURISDICTION AND VENUE
25
                Federal jurisdiction is invoked under 28 U.S.C. § 1332 because there is
2611                    ..                   ..               .
     11 complete diversity of citizenship between and among the County and ICSOP, and
2711                    .                                                                                               .            .
     ll the amount in controversy exceeds the sum or value of $75,000, exclusxve of xnterest
     11 and costs. The facts requisite to federal )urisdiction are admitted.
                Venue is invoked under 28 U.S.C. § 1391 because a substantial part of the
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2
         events giving rise to the claims asserted by the parties occurred in this district.
3
         Specifically, the underlying claims against the County were made in this district, and
4
         the insurance policies at issue were delivered to the County in this district.
s
- 11             3, TRIALTIME
6
                 The County estimates the trial will take seven trial days, depending on how
7
         the Court rules on the pending motions. ICSOP estimates the trial will take eight
8
         trial days.
9
- 11             4. JURYTRIAL
10
                 The trial is to be a jury trial. Pursuant to the Court's May 3, 2016 0rder for
1111             .                  .                           .            .
     11 Jury Trial (Dkt. 23), thirty-five (35) days before trial, ICSOP will serve ICSOP's
1211                   ...                       ..                                             .
     11 proposed )ury instmctions and special verdict forms on the County. Twenty-eight
1311                         .                   .                               ,..
     11 (28) days before trial, the County will serve on ICSOP the County s ob3ections to
     ll ICSOP's instmctions together with any additional instmctions the County intends to
1511                                                 .              .                               ,
     11 offer. Twenty-one (21) days before trial, ICSOP will serve on the County ICSOP s
1611..                                  ..                                              .
     11 ob.)ections to the County's instructions. Twenty-one (21 ) days before trial, counsel
1711.                                                                                       .
     11 will meet and confer to attempt to come to an agreement on the proposed .)ury
18
?' 11 instructions.
19
                 Sixteen (16) days before trial, counsel will file with the Court a joint set of
     11 .lury instructions on which there is agreement. At the same time, each party will file
     11 its proposed 3ury instmctions which are ob.)ected to by the other party, accompamed
2211.                             ...                          ..
     11 by points and authorities in support of those instructions.
23
'o- 11           s. ADMITTED FACTS
24
                 The following facts are admitted and require no proof.
25
                       a) The County is, and at all times herein mentioned was, a county
26
                                 organized and existing under the laws of California.
27
                       b) ICSOP is, and at all times herein mentioned was, a corporation
28
                                 organized and existing under the laws of Pennsylvania with its


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2
                     principal place of business in New York, and was authorized to
3
                     do business in California.
4
               c) ICSOP issued the following umbrella liability policies of
s
                     insurance to the County: 426-0772 (effective July 23, 1966 to
6
                     July 23, 1969) (the ?66-69 ICSOP Policy?), 429-0989 (effective
7
                     July 23, 1969 to July 23, 1972) (the ?69-72 ICSOP Policy?) and
8
                     427-21195 (effective July 23, 1972 to July 23, 1975) (the "72-75
9
                     ICSOP Policy?). The 66-69 ICSOP Policy, the 69-72 ICSOP
to
                     Policy and the 72-75 ICSOP Policy are collectively refer?ed to as
11
                     the ?ICSOP Policies.?
12
               d) The County paid all premiums on the ICSOP Policies as they
13
                     became due and payable.
14
               e) The County owns and currently operates the Mid-Valley Sanitary
15
                     Landfill (the "MVSL?) located in the City of Rialto.
16
               f) The MVSL is currently comprised of s units, denominated by the
17
                     County as Unit 1, Unit 2, Unit 3, Unit 4 and Unit s, respectively.
18
               g) The land underlying Unit 1 of the MVSL was acquired by the
19
                     County from Virg & Co. via a grant deed dated January 7, 1958.
20
               h) Unit 1 of the MVSL began landfilling operations in or around
21
                     1958.
22
               i) The land underlying Unit 2 of the MVSL was acquired by the
23
                     County from Fred M. Schulz and Walter M. Pointon, as Tmstees
24
                     of the Testamentary Trust Estate of Edward Frederick Schulz, in
25
                     a series of three separate deeds dated August 9, 1971, August 28,
26
                      1972, and June 15, 1973, respectively.
27
               j) OnOctober9,1998,theCaliforniaRegionalWaterQuality
28
                     Control Board for the Santa Ana Region (the ?RWQCB?) issued
                     cleanup and abatement order 98-96 to the County (the ?Order?).
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2
                      k) The County incurred, and continues to incur, costs and expenses
3
                                 in complying with its obligations arising out of and related to the
4
                                 Order,
s
                      1) ByletterdatedAugust27,20l4theCountyforwarded
6
                                 documents to ICSOP concerning costs and expenses the County
7
                                 incurred in response to the Order. The letter requested that
8
                                 ICSOP acknowledge its responsibility to defend and indemnify
9
                                 the County concerning the Order within 30 days.
10
                      m) ByletterdatedSeptember3,2014,ICSOPacknowledgedreceipt
11
                                 of the documents accompanying the August 27, 2014 letter
12
                      n) OnApril20,2017,ICSOPissueda$9millionchecktothe
13
                                 County in partial payment of amounts sought by the County in
14
                                 connection with the Order, and stated that the payment was made
15
                                 subject to a reservation of rights, including the right to seek
16
                                 complete recoupment of the payment.
17
" 11            6. STIPULATED FACTS SUBJECT TO OBJECTION
18
                The following facts, though stipulated, shall be without prejudice to any
1911....
     11 evidentiary ob)ection: None.
20
?' 11           7. CLAIMS AND DEFENSES TO BE PRESENTED AT TRIAL
21
                Counsel for the parties agreed at their in-person pretrial conference meeting
     11 that, since this is a declaratory )udgment action, the County shall present its claims
2311                                             ...             .
     11 first, even though ICSOP filed the imtial Complaint.
24
        The County's Counterclaims and Affirmative Defenses:
25
                      a) The County plans to pursue the following claims against ICSOP and
26
                          affirmative defenses to ICSOP's claims:
27
                            i. Counterclaim 1: Breach of Contract - Failure to Pay
28
                                    "Ultimate Net Loss"

                           11.      Counterclaim 2: Declaratory Relief - ICSOP is Obligated
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2
                            under the ICSOP Policies to Pay for Loss Which the County
3
                            Will Incur as a Result of the Contamination
4
                   111.     Affirrnative Defense 2: Estoppel
s
                   ?V.      Affirmative Defense 3: Waiver
6
                    V.      Affirrnative Defense 4: Laches
7
                   Vl.      Affirmative Defense s : Unclean Hands
8
                  Vll.      Affirmative Defense 6: Breach of Contract
9
                  Vlll.     Affirrnative Defense 7: Ratification
10
                   ?X.      Affirmative Defense 8: Unjust Enrichment
11
                    x. Affirmative Defense 9: Custom and Usage
12
                   xl.      Affirmative Defense 10: Breach of Fiduciary Duty
13
                   xii. Affirmative Defense 11: Constructive/Actual Notice
14
                  xlll.     Affirmative Defense 12: No Prejudice
15
               b) The elements required to establish the County's claims and
16
                   affirmative defenses are:
17
                     i. Counterclaim 1 : To establish breach of an insurance contract
18
                            by ICSOP, the County must prove only: (1) the County
19
                            suffered a loss, all or part of which was covered under the
20
                            ICSOP Policies; (2) ICSOP was informed of the loss; and (3)
21
                            the amount of the covered loss that ICSOP failed to pay.
22
                               See California Civil Jury Instmctions § 2300 (201 7);
23
                            Isaacson v. California Insurance Guarantee Assn., 44 Cal. 3d
24
                            775, 791 (Cal. 1988); Croskey et al., California Practice
25
                            Guide: Insurance Litigation (The Rutter Group 2017) $$
26
                            15:52, 15:924.
27
                            ICSOP contends element (2) requires notice of loss as
28
                            required by the policy. CACI 2320.
                            The County responds that this jury instmction indicates that
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2
                            notice could be given by the insured, or the insurer could
3
                            receive notice by some other means, either within the time
4
                            specified in the policy or within a reasonable time.
s
                    11.     Counterclaim 2: To establish the right to a judicial declaration
6
                            against ICSOP as to its future obligations under the Policies,
7
                            the County must prove only that: (1 ) the County suffered or
8
                            will suffer a loss, all or part of which was or is covered under
9
                            the ICSOP Policies; and (2) ICSOP was informed of the loss.
10
                               See California Civil Jury Instmctions § 2300 (201 7);
11
                            Isaacson v. California Insurance Guarantee Assn., 44 Cal. 3d
12
                            775, 791, 750 P.2d 297, 308 (Cal. 1988); Croskey et al.,
13
                            California Practice Guide: Insurance Litigation (The Rutter
14
                            Group 2017) $7 15:52, 15:924.
15
                            ICSOP contends element (2) requires notice of loss as
16
                            required by the policy. CACI 2320.
17
                            The County responds that this jury instmction indicates that
18
                            notice could be given by the insured or the insurer could
19
                            receive notice by some other means, either within the time
20
                            specified in the policy or within a reasonable time.
21
                   111.     Affirmative Defense 2: The elements of the defense of
22
                            estoppel are: (1) ICSOP knew the facts; (2) ICSOP intended
23
                            that its conduct be acted on or so acted that the County had a
24
                            right to believe it was so intended; (3) the County was
25
                            ignorant of the true facts; and (4) the County relied on
26
                            ICSOP's conduct to its injury.
27
                               See U.S. ex rel. Jordan v. Northrop Grumman Corp., No.
28
                            CV 95-2985 ABC EX, 2002 WL 35454612, at * 11 (C.D. Cal.
                            Aug. s, 2002); United States v. Georgia-Pacific Company,
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2
                            421 F.2d 92, 95 (9th Cir. 1970)., U.S. for Use of Youngstown
3
                            Welding & Eng'g Co. v. Travelers Indem. Co., 802 F.2d 1164,
4
                            1168 (9th Cir. 1986).
s
                   ?V.      Affirmative Defense 3: Under California Insurance Code
6
                            sections 553 and 554, the insurer waives a late or defective-
7
                            notice defense if it does not raise the defense specifically and
8
                            promptly; there are no other elements.
9
                                Separately, the common-law elements of waiver are: (l)
10
                            ICSOP knew of its alleged right to assert its claims; and (2)
11
                            ICSOP intentionally relinquished that right, either expressly
12
                            or through conduct inconsistent with an intent to enforce that
13
                            right.
14
                               Cal. Ins. Code §§ 553, 554. See also Gibson Brands, Inc.
15
                            v. John Hornby Skewes & Co., No. CV 14-00609 DDP SSX,
16
                            2014 WL 5419512, at *3 (C.D. Cal. Oct. 23, 2014).
17
                         ICSOP contends the elements of any waiver defense are: (l)
18
                         ICSOP knew of alleged coverage defenses and (2) ICSOP
19
                         freely and knowingly gave up its right to assert coverage
20
                         defenses. See CACI 336; Oakland-Alameda County Coliseum,
21
                         Inc. v. National Union Fire Ins. Co. ofPittsburgh, Pa. (N.D.
22
                         Cal. 2007) 480 F.Supp.2d 1182, 1191 ; Insua v. Scottsdale Ins.
23
                         Co. (2002) 104 Cal.App.4th 737, 742-743.
24
                            The County contends that the common-law waiver elements
25
                            do not override the statute, and that California law as cited
26
                            above allows waiver to be implied by conduct.
27
                   V.       Affirrnative Defense 4: To prove a laches defense, the County
28
                            must establish (1 ) a failure to raise an issue; (2) for a period of
                            time that amounted to an unreasonable delay; and (3) the
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2
                           delay resulted in prejudice to the County.
3
                              Enforcement of the waiver in California Insurance Code
4
                           sections 553 and 554 requires only a showing that the insurer
s
                           did not raise a late or defective-notice defense specifically and
6
                           promptly.
7
                              See In re Imperial Credit Indus., Inc., No. SA CV 07-
8
                           777CAS, 2008 WL 4346785, at *9 (C.D. Cal. Sept. 18, 2008).
9
                           For ICSOP's position, see Affirrnative Defense 3 above.
10
                   Vl.     Affirmative Defense s: To establish unclean hands, the
11
                           County must demonstrate (l) inequitable conduct by ICSOP;
12
                           (2) that ICSOP's conduct directly related to the claim which it
13
                           has asserted against the County; and (3) ICSOP's conduct
14
                           injured the County. Inequitable conduct occurs when ICSOP
15
                           "has violated conscience, good faith or other equitable
16
                           principles in its prior conduct,? as well as when ICSOP ?has
17
                           dirtied its hands in acquiring the right presently asserted.?
18
                              See Demarest v. Quick Loan Funding, Inc., No. CVO9-
19
                           01687 MMM(SSX), 2009 WL 940377, at *7 (C.D. Cal. Apr.
20
                           6, 2009); Survivor Productions LLC v. Fox Broadcasting Co.,
21
                           No. CVO?-3234 LGB (SHX), 2001 WL 35829270, *3 (C.D.
22
                           Cal. June 12, 2001); Dollar Sys., Inc. v. Avcar Leasing Sys.,
23
                           Inc., 890 F.2d 165, 173 (9th Cir. 1989).
24
                  Vll.     Affirmative Defense 6: To establish breach of an insurance
25
                           contract by ICSOP, the County must prove: (1) the County
26
                           suffered a loss, all or part of which was covered under the
27
                           ICSOP Policies; (2) ICSOP was notified of the loss; and (3)
28
                           the amount of the covered loss that ICSOP failed to pay.
                              See California Civil Jury Instmctions Ep 2300 (201 7);
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2
                             Isaacson v. California Insurance Guarantee Assn., 44 Cal. 3d
3
                             775, 791, 750 P.2d 297, 308 (Cal. 1988); Croskey et al.,
4
                             California Practice Guide: Insurance Litigation (The Rutter
s
                             Group 2017) $$ 15:52, 15:924.
6
                             ICSOP contends element (2) requires notice of loss as
7
                             required by the policy. CACI 2320.
8
                             The County responds that this jury instruction indicates that
9
                             notice could be given by the insured or the insurer could
10
                             receive notice by some other means, either within the time
11
                             specified in the policy or within a reasonable time.
12
                  Vlll.      Affirnnative Defense 7: To establish the defense of
13
                             ratification, it must be shown that ICSOP (l ) acted voluntarily
14
                             and with knowledge of the facts; and (2) intended to ratify the
15
                             agreement.
16
                                See Union Pac. R. Co. v. Zimmer, 87 Cal. App. 2d 524,
17
                             532 (1948); Bourbeau v. Cognitive Code Corp., No. 15-
18
                             55950, 2017 WL 1960420, at *2 (9th Cir. May 11, 2017).
19
                          ICSOP contends the test for ratification is ?whether the
20
                          releasor with full knowledge of material facts entitling him to
21
                          rescind has engaged in some unequivocal conduct giving rise to
22
                          an inference that he intended his conduct to amount to a
23
                          ratification.? Uniorx Pacific R. Co. v. Zimmer (1948) 87
24
                          Cal.App.2d 524, 532.
25

26                  ?X.      Affirmative Defense 8 : The elements of the defense of unjust

27                           enrichment are: (1) ICSOP's receipt of a benefit; and (2)

28                           ICSOP's unjust retention of the benefit at the expense of the
                             County.

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2                               See Lectrodryer v. SeoulBank, 77 Cal. App. 4th 723, 726
3                            (2000).
4                         ICSOP contends element (1) requires the receipt of the benefit to
s                         be at another's expense.
6                         The County contends ICSOP was unjustly enriched at the
7                         County's expense.
8
                    X.       Affirmative Defense 9: The proponent of custom and usage
9
                             evidence must demonstrate the common practice in the place
10
                             where the contract is to be performed or the relationship is to
11
                             be centered.
12
                                See Nat'l Am. Ins. Co. of California v. Certain
13
                             Underwriters at Lloyd's London, 93 F.3d 529 (9th Cir. 1996).
14
                          ICSOP contends this is not a recognized affirmative defense.
15
                   xl.       Affirmative Defense 10: The elements of breach of fiduciary
16
                             duty are: (1 ) the existence of a fiduciary relationship; (2) its
17
                             breach, which can be based upon either negligence or fraud;
18
                             and (3) damage proximately caused by the breach.
19
                                See Siegal v. Gamble, No. 13-CV-03570-RS, 2016 WL
20
                             1085787, at *8 (N.D. Cal. Mar. 21, 2016); Tribeca
21
                             Companies, LLC v. First Am. Title Ins. Co., 239 Cal. App. 4th
22
                             1088, 1114 (2015).
23
                          ICSOP contends the breach cannot be based on negligence.
24

                          Salahutdin v. Valley of California, Inc. 1994) 24 Cal.App.4th
25
                          555, 563.
26

                          The County contends that the case law, including Salahutdin,
27

                          allows negligence to form the basis for this breach of duty.
28

                   xll.      Affirmative Defense 11: To prove constmctive notice, it must

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2
                         be established that the condition existed long enough or was
3
                         of such an obvious nature that it may be infer?ed that a
4
                         reasonable inquiry by ICSOP would have ascertained its
s
                         existence. Actual notice is established by proving ICSOP's
6
                         actual knowledge.
7
                            See Cal. Civ. Code § 19; Strongman v. Kern Cty., 255 Cal.
8
                         App. 2d 308, 312-13 (1967); Van Dorn v. City & Cty. of San
9
                         Francisco, 103 Cal. App. 2d 714, 717 (1951).
10

11                    ICSOP contends actual notice requires proof that when the
12                    County had information from which the County could
13                    reasonably conclude that an occurrence covered under the

14                    ICSOP Policies involved injuries or damages
15                    which, in the event the County should be held liable, was
16                    likely to involve the ICSOP Policies, the County sent notice to
17                    c.v. Starr and Co. as soon as practicable. ICSOP Policy
18                    language.

19                    The County contends that actual notice is not defined in the

20                    Policy, but to the extent that the Policy language is relevant, it
21                    speaks for itself and ICSOP has omitted the last phrase of
22                    Condition G, which provides ?that failure to give notice of any
23                    occurrence which at the time of its happening did not appear to
24                    involve this policy but which, at a later date, would appear to
25                   give rise to claims hereunder, shall not prejudice such claims.?
26                   Constmctive notice requires proof that ICSOP was provided
27                   with information sufficient to put ICSOP on notice that it had a
28                   contractual duty to conduct a further investigation to determine
                     if the County was asserting a claim for coverage under the

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2
                          ICSOP Policies for a claim that had not already been
3
                          tendered and that if ICSOP had diligently conducted such
4
                          further investigation it would have discovered that the County
s
                          was asserting a new claim for coverage under the ICSOP
6
                          Policies. KPFF, Inc. v. California Union Ins. Co. (1997) 56
7
                          Cal.App.4th 963, 973; California Shoppers, Inc. v. Royal Globe
8
                          Ins. Co. (1985) 175 Cal.App.3d 1, 37.
9
                          The County contends that ICSOP' s commentary is not a proper
10
                          description of the limited notice that suffices to give an insurer
11
                          constmctive notice under California law. Span, Inc. v.
12
                          Associated Int'l Ins. Co., 227 Cal. App. 3d 463, 481-482
13
                          (1991), reh'g denied and opinion modified (Feb. 27, 1991)
14
                          (finding the knowledge of a tort action against the insured and
15
                          insolvency of the primary insurer amounted to constmctive
16
                          notice to the excess insurer); Moe v. Transamerica Title Ins.
17
                          Co., 21 Cal. App. 3d 289, 302 (1971) (citing Cal. Civ. Code
18
                          § 19 and finding constructive notice even when the same
19
                          insurer was considering a different policy for the same insured).
20

21                xlll.      Affirmative Defense 12: To establish no notice-prejudice,

22
                             ICSOP must demonstrate that there was a substantial

23                           likelihood that it could have either: (1 ) defeated the

24                           underlying claim against the County; or (2) settled the case

25                           for a smaller sum than that for which the County ultimately

26
                             settled the claim.

27                              See California Civil Jury Instmctions § 2320 (201 7); Ins.

28                           Co. of State of Pennsylvania v. Associated Int'l Im. Co., 922
                             F.2d 516, 524 (9th Cir. 1990).

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2
                          ICSOP contends that to establish a lack of prejudice on the part
3
                          of ICSOP, the County must demonstrate that there was no
4
                          substantial likelihood, that, had timely notice been provided,
s
                          ICSOP could have taken steps that would have reduced the
6
                          County's liability. See CACI 2320.
7
                          The County responds that ICSOP's statement reverses the
8
                          burden of proof under California law. ?[I]t is settled that breach
9
                          of a notice clause by an insured may not be asserted by an
10
                          insurer unless the insurer was substarxtially prejudiced thereby;
11
                          that prejudice is not presumed as a matter of law firom such
12
                          breach; and that the insurer has the burden of proving actual
13
                      prejudice arid not just a mere possibiliffl of prejudice.? Moe v.
14
                          Transamerica Title Co., 21 Cal. App. 3d 289, 302 (1971)
15
                          (emphasis added).
16

17              c) In brief, the key evidence the County relies on for each of the claims
18                 and affirmative defenses is:

19                   1.      Generally, for all claims and affirmative defenses:

20                           * The ICSOP Policies;

21                           * Documents, percipient witness testimony, and expert
22                              testimony regarding the occurrences and losses covered by
23                              the ICSOP Policies (including but not limited to the
24                              testimony of Dr. Hromadka and County personnel);
25                           * Documents, percipient witness testimony, and expert
26                              testimony regarding communications and negotiations
27                              between ICSOP and the County relating to the ICSOP
28                              Policies;

                             * The Order, including all amendments and communications

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2
                           regarding the Order and its implementation;
3
                         * Documents, percipient witness testimony, and expert
4
                           testimony regarding communications between the County
s
                            and ICSOP relating to the County's obligations, including
6
                           those set forth in the Order;
7
                         * The August 27, 2014 letter and supporting materials from
8
                           the County to ICSOP documenting the costs and expenses
9
                           that the County incurred in connection with the
10
                            contamination at issue in the Order;
11
                         * Documents and testimony regarding ICSOP's undisputed
12
                           receipt of the Order from the County in 2008;
13
                         * Documents and testimony regarding AJG's (ICSOP's
14
                           parent company) awareness of the water purveyors'
15
                            complaints of volatile organic compound (?VOC")
16
                            contamination of their groundwater production wells in
17
                            1997, evidenced in A?G's communications to the County
18
                            on August 22, 1997 and September 11, 1997;
19
                         * Documents and testimony regarding the other
20
                            documentation the County provided ICSOP of costs and
21
                            expenses incurred by the County to investigate, remediate
22
                            and protect the health and safety of the residents and
23
                            citizens of the County of San Bemardino against the
24
                            contamination at issue in the Order (including but not
25
                            limited to the testimony of Mr. Kinrich and Mr. Edwards);
26
                         * Documents and testimony regarding the substantial costs
27
                            and expenses, exceeding $29 million, the County incurred,
28
                            and continues to incur, in complying with its obligations,
                            including those set forth in the Order;
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2
                            * Documents and testimony regarding ICSOP's refusal to
3
                               acknowledge coverage of the County's claims relating to
4
                               its costs and expenses incurred by the County to
s
                               investigate, remediate and protect the health and safety of
6
                               the residents and citizens of the County of San Bernardino
7
                               against the contamination at issue in the Order; and
8
                            * Documents, testimony, and expert opinion regarding
9
                               ICSOP's responses to the County's claim for coverage
10
                               (including but not Iimited to the testimony of Mr. Lathrop).
11
                    11.     Counterclaim l: (l) ICSOP has breached its contractual
12
                            obligations under the Policies, including ICSOP's duty to
13
                            indemnify the County against "Ultimate Net Loss? that the
14
                            County has incurred as a result of the contamination at issue
15
                            in the Order, including, without limitation, "expenses
16
                            for. ..lawyers....and investigators and other persons, and for
17
                            litigation, settlement, adjustment and investigation of' the
18
                            contamination at issue in the Order, as reasonably necessary
19
                            to avoid and/or minimize the County's potential liability in
20
                            connection with such Order, and to protect the health and
21
                            safety of the citizens of the County of San Bernardino.
22
                               ICSOP has delayed, refused and failed to pay any such
23
                            ?Ultimate Net Loss? incurred by the County as a result of the
24
                            contamination at issue in the Order; while ICSOP has
25
                            provided an illusory $9 million check, it has stated that it will
26
                            attempt to recoup that money if it prevails at trial.
27
                            Accordingly, ICSOP has effectively denied coverage - and
28
                            sued its insured so that the County has had to litigate its right
                            to coverage under the Policies.
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2
                            ICSOP has never provided the County with its coverage
3
                         determination, and has instead forced the County into
4
                         expensive litigation. These Policies cover pollution liability
s
                         of the County. They have no aggregate limits for the number
6
                         of occurrences they cover. The current dispute essentially
7
                         centers around two things: (1 ) the number of occurrences (the
8
                         County contends there are about 10 and ICSOP says there is
9
                         only one); and (2) ICSOP's late notice defense. The County
10
                         contends that notice was not late, and that even if it was late,
11
                         ICSOP waived it by its conduct under California law. Even if
12
                         waiver is not found, ICSOP must prove it was substantially
13
                         prejudiced because of the late notice, and ICSOP has not set
14
                         forth any such evidence.
15
                            As a direct and proximate result of ICSOP's breach of
16
                         contract, the County has been required to incur and pay tells
17
                         of millions of dollars to respond to property damage claims
18
                         without reimbursement.
19
                            (2) ICSOP received notice in 1997 of claims against the
20
                         County for property damage resulting from the same VOC
21
                         contamination at issue in the Order, it received the Order in
22
                         2008, and it received what it admits was notice of the
23
                         County's losses in 2014 yet failed to specifically raise a late
24
                         or defective-notice defense for at least 442 days (resulting in a
25
                         statutory waiver of any such defense). ICSOP also has not
26
                         shown substantial prejudice - ICSOP cannot show it would
27
                         have reduced the liability, and it has not accepted coverage.
28
                         Further, the Policies give the County the right to control its
                         defense, and there is no voluntary payments clause.
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2
                                 (3) As a direct and proximate result of ICSOP's breach of
 3
                              contract, the County has been required to incur and pay tells
4
                              of millions of dollars to respond to property damage claims
s
                              without reimbursement. To date, this exceeds $29 million.
6
                    111.      Counterclaim 2: (l) ICSOP has breached its contractual
7
                              obligations under the Policies, including ICSOP's duty to
8
                              indemnify the County against ?Ultimate Net Loss? that the
9
                              County has incurred, and continues to incur, as a result of the
 10
                              contamination at issue in the Order, including, without
 11
                              limitation, ?expenses for. ..lawyers. ...and investigators and
12
                              other persons, and for litigation, settlement, adjustment and
13
                              investigation of' the contamination at issue in the Order, as
14
                             reasonably necessary to avoid and/or minimize the County's
15
                             potential liability in connection with the contamination at
16
                             issue in the Order, and to protect the health and safety of the
17
                             citizens of the County of San Bernardino.
18
                                 ICSOP has delayed, refused and failed to pay any such
19
                             ?Ultimate Net Loss? incur?ed by the County as a result of the
20
                             contamination at issue in the Order; while ICSOP has
21
                             provided an illusory $9 million check, it has stated that it will
22
                             attempt to recoup that money if it prevails at trial.
23
                             Accordingly, ICSOP has effectively denied coverage - and
24
                             sued its insured so that the County has had to litigate its right
25
                             to coverage under the Policies.
26
                                 ICSOP has never provided the County with its coverage
27
                             determination, and has instead forced the County into
28
                             expensive litigation. These Policies cover pollution liability
                             of the County. They have no aggregate limits for the number
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2
                            of occurrences they cover. The current dispute essentially
3
                            centers around two things: (1) the number of occurrences (the
4
                            County contends there are about 10 and ICSOP says there is
s
                            only one); and (2) ICSOP's late notice defense. The County
6
                            contends that notice was not late, and that even if it was late,
7
                            ICSOP waived it by its conduct under California law. Even if
8
                            waiver is not found, ICSOP must prove it was substantially
9
                            prejudiced because of the late notice, and ICSOP has not set
10
                            forth any such evidence.
11
                               As a direct and proximate result of ICSOP's breach of
12
                            contract, the County has been, and continues to be, required to
13
                            incur and pay tells of millions of dollars to respond to
14
                            property damage claims without reimbursement.
15
                               (2) ICSOP received notice in 1997 of the County's losses,
16
                            it received the Order in 2008, and it received what it admits
17
                            was notice of the County's losses in 2014 yet failed to
18
                            specifically raise a late or defective-notice defense for at least
19
                            442 days (resulting in a statutory waiver of any such defense).
20
                            ICSOP also has not shown substantial prejudice - ICSOP
21
                            cannot show it would have reduced the liability, and it has not
22
                            accepted coverage. Further, the Policies give the County the
23
                            right to control its defense, and there is no voluntary payments
24
                            clause.
25
                               (3) ICSOP should be ordered to pay the County's future
26
                            costs pursuant to its Policies.
27
                    ?V.     Affirrnative Defense 2: (l) ICSOP's misconduct in failing to
28
                            properly respond to all of the County's notices to it estops
                            ICSOP from claiming any defects in, lack of or late notice or
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 2
                            any violation of any Policy provision. ICSOP received notice
 3
                            in 1997 of the County's losses, it received the Order in 2008,
4
                            and it received what it admits was notice of the County's
 s
                            losses in 2014 yet failed to specifically raise a late or
6
                            defective-notice defense for at least 442 days (resulting in a
7
                            statutory waiver of any such defense). ICSOP also has not
8
                            shown substantial prejudice - ICSOP cannot show it would
9
                            have reduced the liability, and it has not accepted coverage.
 10
                            Further, the Polici'es give the County the right to control its
 11
                            defense, and there is no voluntary payments clause.
 12
                               (2) ICSOP failed to provide the County with its coverage
13
                            determination, failed to pay anything (until recently, and even
14
                            now threatens recoupment), failed to conduct a proper
15
                            investigation, and failed to inform the County of the progress
16
                            of the claim. These activities and more mean that ICSOP
17
                            cannot rely on Policy provisions inserted for its benefit to
18
                            deny coverage.
19
                               (3) ICSOP had notice in 1997 of the County's losses, it
20
                           received the Order in 2008, and it received what it admits was
21
                           notice of the County's losses in 2014 yet failed to specifically
22
                           raise a late or defective-notice defense for at least 442 days
23
                           (resulting in a statutory waiver of any such defense). ICSOP
24
                           also has not shown substantial prejudice.
25
                               (4) As a direct and proximate result of ICSOP's breach of
26
                           contract, the County has been required to incur and pay tells
27
                           of millions of dollars to respond to property damage claims
28
                           without reimbursement. To date, this exceeds $29 million.
                    V.     Affirmative Defense 3 : The County claims each and all of the
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2
                           purported causes of action asserted in the Complaint are
3
                           barred by waiver - namely, ICSOP's misconduct in failing to
4
                           respond to notices by the County and its failure to process the
s
                           County's claim in a reasonable manner mean that it cannot
6
                           enforce exclusions or conditions in the Policies to limit
7
                           coverage, including but not limited to the notice provision. In
8
                           particular, California Insurance Code sections 553 and 554
9
                           provide that an insurer waives all late or defective-notice
to
                           defenses if it does not specifically raise those defenses
11
                           promptly in writing, and here, ICSOP waited anywhere from
12
                           19 years to 442 days - nothing in this time period is prompt
13
                           under California law. Further, all notice defenses are waived
14
                           by ICSOP's effective denial of coverage.
15
                   Vl.     Affirrnative Defense 4: (l ) The County claims each and all of
16
                           the purported causes of action asserted in the Complaint are
17
                           barred by laches. Specifically, ICSOP's failed to respond to
18
                           notices in 1997 and 2008, and it responded deficiently in 2014
19
                           by failing to specifically raise a late or defective-notice
20
                           defense until late 2015.
21
                              (2) ICSOP waited anywhere from 19 years to 442 days to
22
                           process the County's claim. Anything in this time period
23
                           constitutes an unreasonable delay by ICSOP under California
24
                           law.
25
                              (3) As a direct and proximate result of ICSOP's
26
                           unreasonable delay, the County has been required to incur and
27
                           pay tells of millions of dollars to respond to property damage
28
                           claims without reimbursement. To date, this exceeds $29
                           million.

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1

2
                   Vll.     Affirmative Defense s: (1 ) The County claims each and all of
3
                            the purported causes of action asserted in the Complaint are
4
                            barred by the doctrine of unclean hands. Specifically,
s
                            ICSOP's failure to respond to notices in 1997 and 2008 and
6
                            its deficient response in 2014 - including its failure to
7
                            specifically raise a late or defective-notice defense until late
8
                            2015 - result in ICSOP being unable to enforce conditions
9
                            and exclusions in the Policies. The failure to provide the
10
                            County with its coverage determination, the failure to pay
11
                            anything (until recently, and even then to threaten
12
                            recoupment), the failure to conduct a proper investigation and
13
                            to inform the insured of the results - all these activities and
14
                            more mean that ICSOP cannot rely on Policy provisions
15
                            inserted for its benefit to deny coverage.
16
                               (2) ICSOP failed to provide the County with its coverage
17
                            determination, failed to pay anything (until recently, and even
18
                            then threatens recoupment), failed to conduct a proper
19
                            investigation, and failed to inform the County of the results.
20
                               (3) As a direct and proximate result of ICSOP's
21
                            inequitable conduct, the County has been required to incur
22
                            and pay tells of millions of dollars to respond to property
23
                            damage claims without reimbursement. To date, this exceeds
24
                            $29 million.
25
                  Vlll.     Affirmative Defense 6: (1 ) ICSOP has breached its
26
                            contractual obligations under the Policies, including ICSOP's
27
                            duty to indemnify the County against "Ultimate Net Loss?
28
                            that the County has incurred as a result of the contamination
                            at issue in the Order, including, without limitation, "expenses
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2
                         for. ..lawyers....and investigators and other persons, and for
3
                         litigation, settlement, adjustment and investigation of' the
4
                         contamination at issue in the Order, as reasonably necessary
s
                         to avoid and/or minimize the County's potential liability in
6
                         connection with such Order, and to protect the health and
7
                         safety of the citizens of the County of San Bernardino.
8
                            ICSOP has delayed, refused and failed to pay any such
9
                         ?Ultimate Net Loss? incurred by the County as a result of the
 10
                         contamination at issue in the Order; while ICSOP has
11
                         provided an illusory $9 million check, it has stated that it will
12
                         attempt to recoup that money if it prevails at trial.
13
                         Accordingly, ICSOP has effectively denied coverage - and
14
                         sued its insured so that the County has had to litigate its right
15
                         to coverage under the Policies.
16
                            ICSOP has never provided the County with its coverage
17
                         determination, and has instead forced the County into
18
                         expensive litigation. As a direct and proximate result of
19
                         ICSOP's breach of contract, the County has been required to
20
                         incur and pay tells of millions of dollars to respond to
21
                         property damage claims without reimbursement.
22
                            (2) ICSOP received notice in 1997 of the County's losses,
23
                         it received the Order in 2008, and it received what it admits
24
                         was notice of the County's losses in 2014 yet failed to
25
                         specifically raise a late or defective-notice defense for at least
26
                         442 days (resulting in a statutory waiver of any such defense).
27
                            (3) As a direct and proximate result of ICSOP's breach of
28
                         contract, the County has been required to incur and pay tells
                         of millions of dollars to respond to property damage claims
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2
                           without reimbursement. To date, this exceeds $29 million.
3
                   ?X.     Affirrnative Defense 7: (1) The County claims each and all of
4
                           the purported causes of action asserted in the Complaint are
s
                           bar?ed by ICSOP's ratification of the actions undertaken.
6
                           ICSOP's conduct in failing to respond and then responding
7
                           without a late or defective-notice defense ratified the County's
8
                           conduct in not only reporting the claim, but undertaking its
9
                           remediation required by the Order. ICSOP received notice in
10
                           1997 of the County's losses, it received the Order in 2008,
11
                           and it received what it admits was notice of the County's
12
                           losses in 2014.
13
                              ICSOP also has not shown substantial prejudice - ICSOP
14
                           cannot show it would have reduced the liability, and it has not
15
                           accepted coverage. Further, the Policies give the County the
16
                           right to control its defense, and there is no voluntary payments
17
                           clause.
18
                              (2) Despite its prolonged knowledge of the County' s claim
19
                           for losses, ICSOP failed to specifically raise a late or
20
                           defective-notice defense for at least 442 days.
21
                    X.     Affirmative Defense 8: (l) The County claims each and all of
22
                           the purported causes of action asserted in the Complaint are
23
                           barred because ICSOP would be unjustly enriched if it
24
                           prevailed on its Complaint or any of the causes of action
25
                           purportedly set forth therein. The County paid premiums for
26
                           the Policies and is entitled to full coverage pursuant to the
27
                           Policies' terms.
28
                              (2) Allowing ICSOP to retain not only the premium but its
                           other funds when it should be paying for coverage is a benefit
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2
                            to which ICSOP is not entitled.
3
                    xl.     Affirmative Defense 9: The custom and practice in the
4
                            insurance industry, and the custom and usage of insurance
s
                            policies in California, require an insurer to respond when it
6
                            receives a complaint from its insured. ICSOP violated the
7
                            custom and practice in the insurance industry, and the custom
8
                            and usage of insurance policies in California, when it took no
9
                            action after receiving notice in 1997 of water purveyors'
10
                            claims against the County for property damage to their
11
                            drinking water production wells resulting from the same
12
                            contamination at issue in the Order, undisputedly receiving a
13
                            copy of the Order from the County in 2008, and again when it
14
                            stuck its head in the sand after receiving the County's August
15
                            27, 2014 letter instead of promptly providing the County with
16
                            its coverage determination.
17
                   xll.     Affirmative Defense 10: (l) The County claims each and all
18
                            of the purported causes of action asserted in the Complaint are
19
                            barred by ICSOP's breach of duties owed to the County. In
20
                            California, an insurer has a special relationship with its
21
                            insured, and owes the insured a duty to treat its insured's
22
                            interests as at least equal to its own.
23
                               (2) ICSOP breached that duty by failing to respond to the
24
                            County's notice, mishandling its claim, and unreasonably
25
                            denying full coverage without a full and fair investigation or
26
                            proper interpretation of the Policies. Indeed, instead of
27
                            providing coverage, ICSOP commenced this suit, greatly
28
                            prejudicing its insured in the underlying proceedings. And
                            since then, ICSOP's failure to provide the County with its
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2
                            coverage determination, the failure to pay anything (until
3
                            recently, and even then to threaten recoupment), the failure to
4
                            conduct a proper investigation, and the failure to inform the
s
                            insured of the progress of the claim, have all fallen well short
6
                            of the standards of conduct required for insurers in California.
7
                               (3) As a direct and proximate result of ICSOP's breach of
8
                            duties owed to the County, the County has been required to
9
                            incur and pay tells of millions of dollars to respond to
10
                            property damage claims without reimbursement. To date, this
11
                            exceeds $29 million.
12
                  Xlll.     Affirmative Defense 11: The County gave notice of the claim
13
                            in 1997, 2008 and 2014. ICSOP disputes only the notice that
14
                            the County gave in 1997; it admits the other two instances.
15
                            ICSOP was also participating in activities at the Landfill and
16
                            the Rialto-Colton basin for years, so it had actual knowledge
17
                            of the contamination at issue in the Order and leading to this
18
                            suit. Still, ICSOP failed to specifically raise a late or
19
                            defective-notice defense until late 2015.
20
                  X?V.      Affirmative Defense 12: (l) Any delayed notice to ICSOP of
21
                            the contamination at issue in the Order did not result in any
22
                            prejudice to ICSOP. The burden of proof is on ICSOP to
23
                            show not only untimely notice, but substantial prejudice
24
                            therefrom, and ICSOP cannot. The County did what it was
25
                            ordered to do, and ICSOP has only speculation that its earlier
26
                            involvement would have made any difference to the County's
27
                            obligations. Indeed, ICSOP appears to resort to an argument
28
                            that the PCE remediation standard set by the RWQCB in the
                            Order at the drinking water production wells - which mirrors
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2
                           the public health protection standard set by the EPA's MCLG
3
                           of ?non-detect? - is too onerous and should not have been
4
                           imposed by the RWQCB (irrespective of its undisputed
s
                            statutory and regulatory authority to do so). There was simply
6
                           no prejudice to ICSOP here, as the County's remediation
7
                           obligations are set by law, not the speculative musings of its
8
                           Insurer.

9
                               Further, ICSOP has not shown substantial prejudice -
10
                           ICSOP cannot show it would have eliminated the liability,
11
                           and it has not accepted coverage. In addition, the Policies give
12
                           the County the right to control its defense, and there is no
13
                           voluntary payments clause.
14
                               (2) Any delayed notice to ICSOP of the contamination at
15
                           issue in the Order did not result in any prejudice to ICSOP.
16
                           The burden of proof is on ICSOP to show not only untimely
17
                           notice, but substantial prejudice therefrom, and ICSOP
18
                           cannot. The County did what it was ordered to do, and
19
                           ICSOP has only speculation that its earlier involvement would
20
                           have made any difference to the County's obligations. There
21
                           was simply no prejudice to ICSOP here, as the County's
22
                           remediation obligations are set by law, not the speculative
23
                           musings of its insurer. Further, ICSOP has not shown
24
                            substantial prejudice - ICSOP cannot show it would have
25
                           reduced the liability, and it has not accepted coverage. In
26
                            addition, the Policies give the County the right to control its
27
                            defense, and there is no voluntary payments clause
28
     ICSOP's Claims and Defenses:

             (a) ICSOP plans to pursue the following claims against the County:
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1

2               First Cause of Action - Declaratory Relief Regarding the Duty to Indemnify -
3
                The Limits of Liability of the ICSOP Policies Cannot be Stacked
                The non-cumulation provisions in ICSOP Policy Nos. 426-0772, 429-0989
4

        and 4272-1195 ("ICSOP Policies?) preclude the County from stacking the limits of
s


6
        liability of the ICSOP Policies regardless of whether property damage takes place
        over more than one ICSOP Policy period.
7

8               Second Cause of Action - Declaratory Relief Regarding Duty to Indemnify -
                Breach of Condition Precedent as to Notice
9
                The County breached Condition G, Notice of Occurrence, in the ICSOP
10
     11 Policies.
11

12
                Third Cause of Action - Declaratory Relief Regarding Duty to Indemnify-
                Breach of Condition Precedent as to Liability Assumed in Settlement
13
                The County breached Condition J, Loss Payable of the ICSOP Policies.
14
                (b) The elements required to establish ICSOP's claims are:
15
                First Cause of Action - The Court has interpreted Condition C in the ICSOP
     ll Policies in ICSOP' s favor and has ruled that the limits of liability of the ICSOP
     ll Policies may not be stacked in connection with payment for property damage arising
18 11               .
     ll out of a single occurrence. (Docket No. 45.)
19
                The County has moved for reconsideration and contends that California law
20 11                         ..
     ll does not allow Condition C to operate as ICSOP contends.
21
                Second Cause of Action - (l) The County did not give ICSOP notice of its
2211 .                                                       .               .
     ll claim for coverage for CAO 98-96 as soon as practicable after the issuance of CAO
23 11                   .             .                          . .
     ll 98-96 and in the manner required by the ICSOP Policies, and (2) ICSOP was
     ll pre)udiced by the County's failure to give timely notice. To establish pre3udice,
     ll ICSOP must show a substantial likelihood that, with timely notice, it would have
2611                                                         ,,,
     ll taken steps that could have reduced the County's liability. See CACI 2320.
27
                The County responds that ICSOP's first element is incomplete: ICSOP has
     ll omitted the last phrase of Condition G, which provides "that failure to give notice of
        any occur?ence which at the time of its happening did not appear to involve this
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1

2
       policy but which, at a later date, would appear to give rise to claims hereunder, shall
3
       not prejudice such claims.?
4
                Also, ICSOP misquotes the second element of CACI 2320, which requires
s
       ICSOP to show that it would have taken steps that "would have substantially
6
       reduced or elimiriated the County's liability.? (Emphasis added).
7
                ICSOP responds that its elements expressly incorporate the notice
8
       requirements in the ICSOP Policy and the County contends the ICSOP Policy was
9
       implicated once it spent $25,000, which happened before CAO 98-96 was issued.
10
                Third Cause of Action - (1) The County assumed an obligation, incurred
11
       expenses and made payments with regard to CAO 98-96, (2) the County did not
1211                    .    .                               ..                   .
     ll make a claim for reimbursement from ICSOP within 12 months of making payment
1311.                                                       ...                               .
     ll in response to CAO 98-96, (3) the County's liability has not been rendered certain
1411                .                                ...                              .
     ll by final 3udgment, and (4) the County's liability has not been rendered certain by a
1511.
     11 written agreement between the County, the RWQCB and ICSOP. See CACI 2322.
1611           ..                               ..
     ll Condition J, Loss Payable, ICSOP Policies.
17
                The County contends that (A) ICSOP's elements are inconsistent, and show
1811                                           ..       .    .                            .
     ll that ICSOP cannot demonstrate Condition J is satisfied; and (B) CACI 2322 is
1911..                               .                               ...
     ll inapplicable because there is no voluntary payments clause in the Policies, and the
2011..                             ..
     11 CACI Directions for Use indicate such a clause must be present.
21
                ICSOP responds that the ICSOP Policy expressly states that liability under the
     ll policy shall not attach unless the conditions in Condition J are satisfied, which
     ll requires either submission of a claim for reimbursement within 12 months of making
2411                                     ...                           .
     ll payment or that the County's liability has been rendered certain by one of the means
2511...
     ll described in the policy.
26
                (c) The key evidence ICSOP relies on for each of the claims is:
27
"ll             FirstCauseofAction
28
                Not applicable for the reasons discussed above.
                Second Cause of Action

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2
                 (1 ) The County first informed the RWQCB of a tentative release of volatile
3
        organic compounds (?VOC?) at the County's Mid Valley Sanitary Landfill
4
        (?MVSL") on October 3, 1994. Beginning no later than 1995, the County began
s
        working with the RWQCB and other authorities to address VOC contamination
6
        issues arising from the MVSL. In 1997 and 1998, the County began negotiating
7
        settlement agreements with San Gabriel Valley Water Company, Cucamonga Valley
8
        Water District, Fontana Union Water Company and Fontana Water Resources
9
        ("Water Companies?) in response to the Water Companies' concerns regarding
1011.                               ..                   .                                                                  ,
     11 potential contamination emanating from the MVSL and the County s plans to
11
        expand the capacity of the MVSL. CAO 98-96 was entered on October 9, 1998. In
1211                                                         .                                                                      .
     11 November 1998, the County entered into the first two settlement agreements with
1311                                 .              ..                 .                                                                .
     ll the Water Compames, committing to funding treatment systems. The County dxd
1411..                                                                             .                            .
     11 not provide notice to ICSOP of CAO 98-96 and its settlements with the Water
1511               .        .                                                                   .                       .
     11 Compames until August 14, 2014. The County never provided notice to c.v. Starr
16 11                           .                                . .
     11 and Co. as required by the ICSOP Policies.
17
                 (2) From 1995 through August 2014, the County alleges it incurred
1811.                                          ..            .                                      ..
     ll approximately $26.2 million responding to CAO 98-96, which includes the amounts
1911.                                                                                               .
     11 incurred to constmct and operate the treatment systems mentioned above, amounts
2011.                                                                         ..                            .                   .               .
     11 incurred to pay for replacement water and additional amounts incurred in connection
     ll with the County's various agreements, including its agreement with the City of
22
'-" 11 Rialto.
23
                 ICSOP was deprived of the opportunity to obtain information
2411                                       .                               ..
     11 contemporaneously with the County's negotiation of the settlement agreements and
2511                                                 .                                 .                .                           ..
     11 CAO 98-96. ICSOP was deprived of the opportumty to provide the County with its
2611.                  .                                                                                                                    .
     11 input regarding the proposed settlement agreements and CAO 98-96, both of which
2711.                  ..                                                                  ..                       .
     11 impose obligations on the County that go beyond obligations required by federal and
     11 state regulatory authorities in connection with remediation of VOC s emanating
        from the MVSL. ICSOP was deprived of the opportunity to conduct an
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2
        investigation into the alleged claims contemporaneously with the assertion of the
3
        alleged claims, thereby prejudicing ICSOP's ability to fully investigate and evaluate
4
        coverage under the ICSOP Policies. ICSOP's ability to explain what actions would
s
        have been taken had timely notice been provided also has been prejudiced due to the
6
        failure to provide timely notice in the first instance.
7
 ' ll           ThirdCauseofAction
8
                (l ) The County began making payments it attributes to its liability arising out
9
        of CAO 98-96 in 1995. The County continued making such payments through at
10 11
     11 least August 27, 2014.
11
                (2) The County did not make a claim for loss to ICSOP until August 27, 2014.
12
                (3) No final judgment has been entered against the County with respect to
13
 "- 11 CAO 98-96.
14
                (4) ICSOP is not a party to the settlement agreements between the County and
1511                         .                              ...
     11 the Water Compames. CAO 98-96 was entered into without notice to ICSOP and
1611             .
     ll ICSOP is not a party thereto.
17

18              (a) ICSOP plans to assert the following affirmative defenses to the
19 ll County's counterclaim.
20              Second Affirmative Defense - The County's claims are barred by the
21      doctrines of laches, unclean hands, waiver and/or equitable estoppel.
22              Fourth Affirmative Defense - The County' s claims are barred, in whole or in
23 ll part, by the ternns, definitions, exclusions, conditions and other limitations in the
24 11 ICSOP Policies.
25              Fifth Affirmative Defense - The County's claims are barred to the extent the
26 ll County failed to comply with, or perform the obligations required by the ICSOP
27 11 Policies.
28
                Sixth Affirmative Defense - The County' s claims are barred to the extent that
        Notice of the Order was not provided in the manner prescribed by the ICSOP

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2 ll Policies and/or as required by law.
3               Seventh Affirmative Defense - The County's claims are barred to the extent
4 ll the County failed to assist and/or cooperate with ICSOP as required by the ICSOP
s ll Policies or as implied by law.
6               Eighth Affirmative Defense - The County' s claims are barred to the extent
7       ICSOP may be entitled to contribution, setoff, indemnification, apportionment, or
8 ll other relief from the County and/or any other insurer.
9               Ninth Affirmative Defense - The County's claims are barred to the extent the
10 ll County failed to mitigate, minimize or avoid any damages it allegedly sustained.
11              Tenth Affirmative Defense - The County's claims are barred to the extent that
12 ll unreasonable and/or unnecessary costs were expended by or on behalf of the County
13 ll in responding to the order.
14
                Eleventh Affirmative Defense - The County's claims are barred to the extent
15 ll that the County voluntarily paid, assumed, and/or incurred expenses to defend or
16 ll settle the underlying claims without ICSOP's consent.
17
                Fourteenth Affirmative Defense - The County's claims are barred by the
18 ll applicable statutes of limitation.
19
                (b) The elements required to establish ICSOP's affirmative defenses are:
20
                Second Affirmative Defense - The elements of the doctrine of laches are an
21
        unreasonable delay by plaintiff in asserting the claim plus either acquiescence in the
22 11
     11 act about which plaintiff complains or prejudice to the defendant resulting from the
23
        delay. Conti v. Board of Civil Service Commissioners (1969)1 Cal.3d 351, 359.
24 11
     ll The County contends that, to prove a laches defense, ICSOP must establish (1 ) a
25 11
     ll failure to raise an issue; (2) for a period of time that amounted to an unreasonable
26
        delay; and (3) the delay resulted in prejudice to the ICSOP. See In re Imperial
27 11
     ll Credit Indus., Inc., No. SA CV 07-777CAS, 2008 WL 4346785, at *9 (C.D. Cal.
28
        Sept. 18, 2008). These requirements are the same as those cited by the County
        above in its Affirmative Defense 4.

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1

2
"- 11               The elements of the doctrine of unclean hands are conduct relative to the
3
        matter in which the plaintiff seeks relief that violates conscience, good faith or other
4
        equitable standards of conduct. Aguawo v. Amaro (2013) 213 Cal.App.4th 1102,
s
- 111110.
6
                    The County contends that to establish unclean hands, ICSOP must
7
        demonstrate (l) inequitable conduct by the County; (2) that the County's conduct
8
        directly related to the claim which it has asserted against ICSOP; and (3) the
9
        County's conduct injured the ICSOP. Inequitable conduct occurs when the County
     11 ?has violated conscience, good faith or other equitable principles in its prior
     ll conduct,? as well as when the County ?has dirtied its hands in acquiring the right
1211                                                              ,                          ,
     ll presently asserted.? See Demarest v. QurckLoan Fundmg, Inc., No. CVO9-01687
1311                                                                                                   .
     11 MMM(SSX), 2009 WL 940377, at *7 (C.D. Cal. Apr. 6, 2009); Sumvor
1411                 ,                                        ,
     11 Producttons LLC v. Fox Broadcastmg Co., No. CVO?-3234 LGB (SHX), 2001 WI?,
1511                                                                                                           .
     ll 35829270, *3 (C.D. Cal. June 12, 2001); Dollar Sys., Inc. v. Avcar Leasmg Sys.,
1611                                              .                                      .
     11 Inc., 890 F.2d 165, 173 (9th Cir. 1989). These requirements are the same as those
1711.                                       ..                        .
     ll cited by the County above in its Affirmative Defense s.
18
                    The elements of waiver are: (l ) the County knew ICSOP was required to
1911                                              ...                                .
     11 assert the defense of late notice in a timely fashion, and (2) the County freely and
2011.                                 ..                                                     ...
     11 knowingly gave up its right to have ICSOP perform this obligation. See CACI 336.
21
                    The County contends, that the common-law elements of waiver are: (l )
2211                          .               .                           .          .             .               .
     11 ICSOP knew of its alleged right to assert its claims; and (2) ICSOP intentionally
     11 relinquished that right, either expressly or through conduct inconsistent with an
24 11 .                                 .                 ,
     ll intent to enforce that right. See Gtbson Brands, Inc. v. John Hornby Skewes & Co.,
25 11 No. CV 14-00609 DDP SSX, 2014 WL 5419512, at *3 (C.D. Cal. Oct. 23, 2014).
26
                    The elements of equitable estoppel are: (l) the party to be estopped knows the
2711                              .                   .                                  .
     11 facts; (2) the party intends that his or her conduct will be acted on; (3) the party
2811            .                 ..                                                                       .
     11 asserting estoppel is ignorant of the tme facts; and (4) the party asserting estoppel
        detrimentally relies on the other party's conduct. Salgado-Diaz v. Gonzales (9th Cir.
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1


2
       2005) 395 F.3d 1157, 1166.
3
               The County responds that it laid out the elements of estoppel in its portion,
4
       and ICSOP did not object to them. The County believes that the parties should be
s
       able to reach an agreement as to these elements. See U.S. ex rel. Jordan v. Northrop
6
       Grumman Corp., No. CV 95-2985 ABC EX, 2002 WL 35454612, at * 11 (C.D. Cal.
7
       Aug. s, 2002); United States v. Georgia-Pacific Company, 421 F.2d 92, 95 (9th Cir.
8
       1970); US. for Use of Youngstown Welding & Eng'g Co. v. Travelers Indem. Co.,
9
       802 F.2d 1164, 1168 (9th Cir. 1986).
10
               ICSOP responds that there is no substantive distinction between the parties'
11
       descriptions of the elements of estoppel.
12
' 11           Fourth Affirrnative Defense - An occurrence means ?an accident or a
1311           .                                    .                                      ..                .
     11 happemng or event or a continuous or repeated exposure to conditions which
1411                                    .       .                   .                               .             .
     ll unexpectedly and umntentionally results in. .. property damage...during the policy
1511 .                                                          .                          ..
     11 period. All such exposure to substantially the same general conditions at or
1611.                                           ...
     11 emanating from one premises location will be deemed one occurrence.? Property
1711               .                                        .                          .                .
     11 damage is defined as ?loss of or direct damage to or destruction of tangible property
1811                                                                               .
     ll (other than property of the Named Assured).? ICSOP Policy language.
19
               The County contends that the Policy must be read as a whole, which ICSOP
2011                       .       .                                                            .
     ll does not do, including other uses of the word ?occurrence,? "premises,? and ?loss?/
21
" ll "such loss?/"such losses.?
22
               ICSOP responds that the definition of occur?ence is unambiguous.
23
               Fifth Affirmative Defense - Condition G - (1) The County did not give
2411                   .       .            .                                                           .
     ll ICSOP notice of its claim for coverage for CAO 98-96 as soon as practicable after
2511.                                                   .                      .                            ..
     ll the issuance of CAO 98-96 and in the manner required by the ICSOP Policies, and
2611                               ..                                          ....
     ll (2) ICSOP was pre)udiced by the County's failure to give timely notice. To
     11 establish pre)udice, ICSOP must show a substantial likelihood that, with timely
2811..                                                                                                      ...
     ll notice, it would have taken steps that could have reduced the County's liability. See
       CACI 2320.

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l

2
                The County responds that ICSOP's first element is incomplete: ICSOP has
3
        omitted the last phrase of Condition G, which provides ?that failure to give notice of
4
        any occurrence which at the time of its happening did not appear to involve this
s
        policy but which, at a later date, would appear to give rise to claims hereunder, shall
6
        not prejudice such claims.?
7
                Also, ICSOP misquotes the second element of CACI 2320, which requires
8
        ICSOP to show that it would have taken steps that "would have substantially
9
        reduced or eliminated the County's liability.? (Emphasis added).
10
?' 11           See discussion of ICSOP's second cause of action above.
11
                Condition J - (l ) The County assumed an obligation, incurred expenses and
1211                          .                                                    .                              .
     11 made payments with regard to CAO 98-96, (2) the County did not make a claim for
1311.                                           ..                             .            .
     11 reimbursement from ICSOP within 12 months of making payment in response to
1411                                            ...                                     .
     ll CAO 98-96, (3) the County's liability has not been rendered certain by final
1511.                                                ...                                        .                     .
     11 )udgment, and (4) the County's liability has not been rendered certain by a written
1611                                                                                   ..
     11 agreement between the County, the RWQCB and ICSOP. Condition J, Loss
17 11                             . .
     11 Payable, ICSOP Policies.
18
                The County contends that (A) ICSOP's elements are inconsistent, and show
1911                                                       ..      .   .                                      .
     11 that ICSOP cannot demonstrate Condition J is satisfied; and (B) CACI 2322 is
2011..                                      .                                      ...
     11 inapplicable because there is no voluntary payments clause in the Policies, and the
21
        CACI Directions for Use indicate such a clause must be present.
22
" 11            See discussion of ICSOP's third cause of action above.
23
                Sixth Affirmative Defense - Condition G - (1 ) The County did not give
2411                .     .             .                                                           .
     11 ICSOP notice of its claim for coverage for CAO 98-96 as soon as practicable after
2511.                                            .                         .                            ..
     11 the issuance of CAO 98-96 and in the manner required by the ICSOP Policies, and
2611                              ..                                   ....
     ll (2) ICSOP was pre)udiced by the County's failure to give timely notice. To
     11 establish pre.)udice, ICSOP must show a substantial likelihood that, with timely
2811..                                                                                                  ...
     11 notice, it would have taken steps that could have reduced the County's liability. See
        CACI 2320.

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l

2
                The County responds that ICSOP's first element is incomplete: ICSOP has
3
        omitted the last phrase of Condition G, which provides "that failure to give notice of
4
        any occurrence which at the time of its happening did not appear to involve this
s
        policy but which, at a later date, would appear to give rise to claims hereunder, shall
6
        not prejudice such claims.?
7
                Also, ICSOP misquotes the second element of CACI 2320, which requires
8
        ICSOP to show that it would have taken steps that "would have substantially
9
        reduced or eliminated the County's liability.? (Emphasis added).
10
                Condition J - (1) The County assumed an obligation, incurred expenses and
1111                       .                                                        .                       .
     11 made payments with regard to CAO 98-96, (2) the County did not make a claim for
1211.                                        ..                                .                .
     11 reimbursement from ICSOP within 12 months of making payment in response to
1311                                         ...                                            .
     11 CAO 98-96, (3) the County's liability has not been rendered certain by final
1411.                                            ...                                                .           .
     11 .)udgment, and (4) the County's liability has not been rendered certain by a written
1511                                                                                    ..
     11 agreement between the County, the RWQCB and ICSOP. Condition J, Loss
16 11                          . .
     ll Payable, ICSOP Policies.
17
                The County contends that (A) ICSOP's elements are inconsistent, and show
1811                                                   ..          .       .                            .
     11 that ICSOP cannot demonstrate Condition J is satisfied; and (B) CACI 2322 is
1911..                                   .                                          ...
     11 inapplicable because there is no voluntary payments clause in the Policies, and the
2011              ..                 ..
     11 CACI Directions for Use indicate such a clause must be present.
21
                See discussion of ICSOP's second and third causes of action above.
22
                Seventh Affirmative Defense - (1 ) The County failed to give ICSOP the
2311              .            .     .                      .                           .
     11 opportumty to associate with the County in the defense of the claim; (2) ICSOP was
24
        unable to exercise reasonable efforts to associate in the defense of the claims
2511.                                ...                                                ..
     ll because it was not provided with notice; and (3) ICSOP was pre)udiced by the
2611                  ..                                               .           ..
     11 County's failure to give ICSOP the opportumty to associate in the defense of the
2711 .                                       .
     ll claim. See CACI 2321 (as modified).
28
                The County responds that ICSOP does not quote Condition G, Condition H,
        or CACI 2321 properly. The second element appears nowhere in CACI 2321, which
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l

2
       requires that ICSOP used reasonable efforts to obtain the County's cooperation, and
3
       does not mention notice; moreover, CACI 2321 copies CACI 2320, which requires
4
       ICSOP to show that it would have taken steps that "would have substantially
s
       reduced or elimithated the County's liability? to prove prejudice. (Emphasis added).
6
       Further, Condition H does not give ICSOP the right ?to assume charge of the
7
       settlement or defense of any claim,? but only ?the opportunity? to associate with the
8
       County and any underlying insurers "in the defense and control of any claim.?
9
                ICSOP responds that this affirmative defense addresses Condition H, not
1011           ..                  .                                   .                    .
     11 Condition G. The portion of CACI 2321 regarding ICSOP using reasonable efforts
1111            .                          .            .                                               .            .
     ll to obtain the County' s cooperation obviously does not apply here as this defense is
1211                                            .                              .
     ll based on the fact that the County did not cooperate prior to August 2014. ICSOP
1311                                                .                                               .
     11 could not have made any effort to obtain the County' s cooperation before that date
1411                           .                                           .
     11 because the County did not tender CAO 98-96 until August 2014,
15
                Eighth Affirmative Defense - Damages mean the amount of money that will
1611.                                                                          ..
     11 fairly and reasonably compensate the County for any in)ury caused by ICSOP. See
1711...                                        ..                          .
     11 Ninth Circuit Manual of Model Civil Jury Instructions § 5.1.
18
                Ninth Affirnnative Defense - The County failed to use reasonable efforts to
1911..                                                      .                                               ..
     11 mitigate damages, and the amount by which damages would have been mit'igated.
20
                Tenth Affirrnative Defense - The County' s efforts to comply with CAO 98-96
2111                    .                                                          .                    ...
     ll must constitute reasonable and necessary efforts to avoid or at lease mimmize
2211...                                .
     11 liability and the expenses incurred by the County must be reasonable and necessary
2311                               ,                                                            .
     ll for that purpose. Aero)et-General Corp. v. Transport Indemmty Co. (1997)17
24 11 Cal.4th 38, 61.
25
                Eleventh Affirrnative Defense - (l ) The County assumed an obligation,
2611.                                                       .
     11 incurred expenses and made payments with regard to CAO 98-96, (2) the County
2711.                       ..                                                         ..                        .
     ll did not make a claim for reimbursement from ICSOP within 12 months of making
2811                .                                                              ...
     ll payment in response to CAO 98-96, (3) the County's liability has not been rendered
       certain by final judgment, and (4) the County's liability has not been rendered
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l

2
        certain by a written agreement between the County, the RWQCB and ICSOP.
3
        Condition J, Loss Payable, ICSOP Policies.
4
                The County contends that (A) ICSOP's elements are inconsistent, and show
s
        that ICSOP cannot demonstrate Condition J is satisfied; and (B) CACI 2322 is
6
        inapplicable because there is no voluntary payments clause in the Policies, and the
7
        CACI Directions for Use indicate such a clause must be present.
8
o 11            SeediscussionofICSOP'sthirdcauseofactionabove.
9
                Fourteenth Affirmative Defense - The County did not file its suit within four
1011                                                                                            .
     11 years from the date the County alleges ICSOP breached the insurance contracts and
1111                 .                                                                                ...
     11 the County incurred harm more than four years before the date of filing this suit.
1211                                 .   .                    ..
     11 See CACI 338; Califorma Code of Civil Procedure § 337(l).
13
                (c) The key evidence ICSOP relies on for each affirmative defense is:
14
"- 11           Second Affirmative Defense
15
                Laches - (l ) The County first informed the RWQCB of a tentative release of
1611                                                                             ..
     ll VOCs at the MVSL on October 3, 1994. Beginmng no later than 1995, the County
1711                 .           .                                                    ..
     11 began working with the RWQCB and other authorities to address VOC
1811             ...                     ..
     11 contamination issues arising from the MVSL. In 1997 and 1998, the County began
1911..                                                    .                                    ..
     11 negotiating settlement agreements with the Water Compames in response to the
2011                     .                            .                      .             ..             .
     ll Water Compames' concerns regarding potential contamination emanating from the
21
        MVSL and the County's plans to expand the capacity of the MVSL. CAO 98-96
2211                                                                                                          .
     11 was entered on October 9, 1998. In November 1998, the County entered into the
2311                                              .                                        .        . .           .
     11 first two settlement agreements with the Water Compames, committing to funding
2411                                             .                       .             .
     ll treatment systems. The County did not provide notice to ICSOP of CAO 98-96 and
2511.                        .                                    .          .
     11 its settlements with the Water Compames until August 14, 2014. The County never
2611..                                                                       .                       ..
     11 provided notice to C.V. Starr and Co. as required by the ICSOP Policies.
27
                (2) From 1995 through August 2014, the County alleges it incurred
2811.                                    ..                   .                                ..
     11 approximately $26.2 million responding to CAO 98-96, which includes the amounts
        incurred to constmct and operate the treatment systems mentioned above, amounts
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l

2
       incurred to pay for replacement water and additional amounts incurred in connection
3
       with the County's various agreements, including its agreement with the City of
4
?' 11 Rialto.
s
                ICSOP was deprived of the opportunity to obtain information
6
       contemporaneously with the County's negotiation of the settlement agreements and
7
       CAO 98-96. ICSOP was deprived of the opportunity to provide the County with its
8
       input regarding the proposed settlement agreements and CAO 98-96, both of which
9
       impose obligations on the County that go beyond obligations required by federal and
      11 state regulatory authorities in connection with remediation of VOC s emanating
11
       from the MVSL. ICSOP was deprived of the opportunity to conduct an
      11 investigation into the alleged claims contemporaneously with the asserhon of the
      11 alleged claims, thereby pre)udicing ICSOP s ability to fully investigate and evaluate
1411                                       ..                      ..        .             .
      ll coverage under the ICSOP Policies. ICSOP's ability to explain what acttons would
1511                               ..                         .                       ..
      11 have been taken had timely notice been provided also has been pre.)udiced due to the
1611.                  ..                ..               .
      11 failure to provide timely notice in the first instance.
 17
                Unclean Hands - The County was aware of a potential claim regarding VOC
1811..                                                                       ..
      11 contamination at the MVSL as early as 1994 and began working with the RWQCB
1911...                                                                 .
      11 and incurring costs it now seeks to recover from ICSOP in 1995. CAO 98-96 was
2011.           .                                .                                .
      11 issued in 1998. The County entered into settlement agreements with the water
21
       Companies in 1998 and 2000. The County did not ask ICSOP to provide coverage
2211                         .                                          ..                     ..
      ll for CAO 98-96 until August 27, 2014, after allegedly incurring over $26.2 million,
      11 which it is asking ICSOP pay. After tendering the claim in August 2014, the County
2411                                        .                 ..        .
      ll took another 15 months to provide ICSOP with information the County deemed
2511                ..                                .                     ...
      11 relevant to its claim. The County now claims ICSOP waived its right to assert a late
      11 notice defense because ICSOP issued it detailed coverage position letter in
27
'- ' 11 November 2015.
28
                Waiver - The County was aware of a potential claim regarding VOC
       contamination at the MVSL as early as 1994 and began working with the RWQCB
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1

2
        and incurring costs it now seeks to recover from ICSOP in 1995. CAO 98-96 was
3
        issued in 1998. The County entered into settlement agreements with the water
4
        Companies in 1998 and 2000. The County did not ask ICSOP to provide coverage
s
        for CAO 98-96 until August 27, 2014, after allegedly incurring over $26.2 million,
6
        which is asked ICSOP pay. After tendering the claim in August 2014, the County
7
        took another 15 months to provide ICSOP with information the County deemed
8
        relevant to its claim. The County now claims ICSOP waived its right to assert a late
9
        notice defense because ICSOP issued it detailed coverage position letter in
10
?' 11 November 2015.
11
                Estoppel - The County was aware of a potential claim regarding VOC
1211..                                                                                     ..
     11 contamination at the MVSL as early as 1994 and began working with the RWQCB
1311...                                                                        .
     11 and incurring costs it now seeks to recover from ICSOP in 1995. CAO 98-96 was
1411.           .                                  .                                           .
     11 issued in 1998. The County entered into settlement agreements with the water
1511                ..                                            .                                .
     ll Compames in 1998 and 2000. The County did not ask ICSOP to provide coverage
1611                        .                                              ..                          ..
     ll for CAO 98-96 until August 27, 2014, after allegedly incurring over $26.2 million,
1711..                                                 .                  ..
     11 which is asked ICSOP pay. After tenderzng the claim in August 2014, the County
1811                                       .                   ..              .
     11 took another 15 months to provide ICSOP with information the County deemed
1911                 ..                                    .                       ...
     11 relevant to its claim. The County now claims ICSOP waived its right to assert a late
     11 notice defense because ICSOP issued it detailed coverage posit'ion letter in
21
        November 2015.
22
" 11            Fourth Affirrnative Defense
23
                (1 ) ICSOP's expert witness, Adam Love, will explain that the County cannot
2411                                                              ..                           ..
     11 demonstrate that the property damage for which it has been held liable with respect
25 11
     ll to CAO 98-96 took place between July 23, 1966 and July 23, 1975, and any effort to
2611                                .                                 .            .               .
     11 do so would be speculative. (2) Mr. Love's testimony will also establish that the
2711                                .                                      .               .
     11 property damage for which the County has been held liable with respect to CAO 98-
2811                                           .                                       .               ..
     11 96 arose out of no more than a single occurrence as defined in the ICSOP Policies.
                Fifth Affirmative Defense

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 1


2
               (1 ) The County first informed the RWQCB of a tentative release of VOCs at
3
       the MVSL on October 3, 1994. Beginning no later than 1995, the County began
4
       working with the RWQCB and other authorities to address VOC contamination
s
       issues arising from the MVSL. In 1997 and 1998, the County began negotiating
6
       settlement agreements with the Water Companies in response to the Water
7
       Companies' concerns regarding potential contamination emanating from the MVSL
8
       and the County's plans to expand the capacity of the MVSL. CAO 98-96 was
9
       entered on October 9, 1998. In November 1998, the County entered into the first
1011                                 .                                               .                    ..                .
     ll two settlement agreements with the Water Compames, committing to funding
1111                                         .                  .                        .
     ll treatment systems. The County did not provide notice to ICSOP of CAO 98-96 and
1211.                    .                               .              .
     ll its settlements with the Water Compames until August 14, 2014. The County never
1311..                                                              .                                              ..
     ll provided notice to c.v. Starr and Co. as required by the ICSOP Policies.
14
               (2) From 1995 through August 2014, the County alleges it incur?ed
1511.                           ..                   .                                            ..
     ll approximately $26.2 million responding to CAO 98-96, which includes the amounts
1611.                                                                                             .
     ll incurred to constmct and operate the treatment systems mentioned above, amounts
1711.                                                                       ..                            .             .            .
     11 incurred to pay for replacement water and additional amounts incurred in connection
     ll with the County's various agreements, including its agreement with the City of
19
" 11 Rialto.
20
               ICSOP was deprived of the opportunity to obtain information
21
       contemporaneously with the County's negotiation of the settlement agreements and
2211                                     .                                       .                    .                         ..
     ll CAO 98-96. ICSOP was deprived of the opportumty to provide the County with its
2311.               .                                                                                                            .
     ll input regarding the proposed settlement agreements and CAO 98-96, both of which
2411.              ..                                                                        ..                .
     ll impose obligations on the County that go beyond obligations required by federal and
     ll state regulatory authorities in connection with remediation of VOC's emanating
2611                                             .                                           .
     11 from the MVSL. ICSOP was deprived of the opportumty to conduct an
     ll investigation into the alleged claims contemporaneously with the assertion of the
     ll alleged claims, thereby pre)udicing ICSOP's ability to fully investigate and evaluate
       coverage under the ICSOP Policies. ICSOP's ability to explain what actions would
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1

2
        have been taken had timely notice been provided also has been prejudiced due to the
3
        failure to provide timely notice in the first instance.
4
                (1 ) The County began making payments it attributes to its liability arising out
s
        of CAO 98-96 in 1995. The County continued making such payments through at
6
        least August 27, 2014.
7
                (2) The County did not make a claim for loss to ICSOP until August 27, 2014.
8
                (3) No final judgment has been entered against the County with respect to
9
' 11 CAO 98-96.
10
                (4) ICSOP is not a party to the settlement agreements between the County and
1111                          .                                          ...
     11 the Water Compames. CAO 98-96 was entered into without notice to ICSOP and
1211             .
     ll ICSOP is not a party thereto.
13
"- 11           Sixth Affirrnative Defense
14
                (l) The County first informed the RWQCB of a tentative release of VOCs at
1511                                              ..
     11 the MVSL on October 3, 1994. Beginmng no later than 1995, the County began
1611..                                                          ..                                  ..
     11 working with the RWQCB and other authorities to address VOC contamination
1711.                ..                                                                              ..
     11 issues arising from the MVSL. In 1997 and 1998, the County began negotiating
1811                                  .                                  ..
     ll settlement agreements with the Water Compames in response to the Water
     11 Compames concerns regarding potential contamination emanating from the MVSL
2011                                                        .
     11 and the County's plans to expand the capacity of the MVSL. CAO 98-96 was
2111                                                                                            .
     ll entered on October 9, 1998. In November 1998, the County entered into the first
2211                                      .                                   .           ..         .
     11 two settlement agreements with the Water Compames, committing to funding
2311                                          .                 .                 .
     11 treatment systems. The County did not provide notice to ICSOP of CAO 98-96 and
2411.                     .                           .              .
     11 its settlements with the Water Compames until August 14, 2014. The County never
2511..                                                              .                          ..
     ll provided notice to c.v. Starr and Co. as required by the ICSOP Policies.
26
                (2) From 1995 through August 2014, the County alleges it incurred
2711.                                ..           .                                   ..
     11 approximately $26.2 million responding to CAO 98-96, which includes the amounts
2811.                                                                                 .
     ll incurred to constmct and operate the treatment systems mentioned above, amounts
        incurred to pay for replacement water and additional amounts incurred in connection
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1

2
        with the County's various agreements, including its agreement with the City of
3
        Rialto.
4
                  ICSOP was deprived of the opportunity to obtain information
s
        contemporaneously with the County's negotiation of the settlement agreements and
6
        CAO 98-96. ICSOP was deprived of the opportunity to provide the County with its
7
        input regarding the proposed settlement agreements and CAO 98-96, both of which
8
        impose obligations on the County that go beyond obligations required by federal and
9
        state regulatory authorities in connection with remediation of VOC's emanating
1011                                            .                          .
     11 from the MVSL. ICSOP was deprived of the opportumty to conduct an
     ll investigation into the alleged claims contemporaneously with the assertion of the
     ll alleged claims, thereby pre)udicing ICSOP's ability to fully investigate and evaluate
     11 coverage under the ICSOP Policies. ICSOP s ability to explain what actions would
1411                                 ..                           .              ..
     11 have been taken had timely notice been provided also has been pre)udiced due to the
1511.                     ..               ..                 .
     11 failure to provide timely notice in the first instance.
16
                  (l ) The County began making payments it attributes to its liability arising out
1711                       .                             .             .
     11 of CAO 98-96 in 1995. The County continued making such payments through at
18 11
     11 least August 27, 2014.
19
                  (2) The County did not make a claim for loss to ICSOP until August 27, 2014.
20
                  (3) No final judgment has been entered against the County with respect to
21
" 11 CAO 98-96.
22
                  (4) ICSOP is not a party to the settlement agreements between the County and
2311                           .                                       ...
     11 the Water Compames. CAO 98-96 was entered into without notice to ICSOP and
2411               .
     ll ICSOP is not a party thereto.
25
'-11              Seventh Affirrnative Defense
26
                  (1 ) The County first informed the RWQCB of a tentative release of VOCs at
2711                                                ..
     11 the MVSL on October 3, 1994. Beginmng no later than 1995, the County began
2811..                                                            ..                   ..
     11 working with the RWQCB and other authorities to address VOC contamination
        issues arising from the MVSL. In 1997 and 1998, the County began negotiating
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1

2
        settlement agreements with the Water Companies in response to the Water
3
        Companies' concerns regarding potential contamination emanating from the MVSL
4
        and the County's plans to expand the capacity of the MVSL. CAO 98-96 was
s
        entered on October 9, 1998. In November 1998, the County entered into the first
6
        two settlement agreements with the Water Companies, committing to funding
7
        treatment systems. The County did not provide notice to ICSOP of CAO 98-96 and
8
        its settlements with the Water Companies until August 14, 2014. The County never
9
        provided notice to c.v. Starr and Co. as required by the ICSOP Policies.
10
                (2) From 1995 through August 2014, the County alleges it incurred
11
        approximately $26.2 million responding to CAO 98-96, which includes the amounts
1211.                                                                                 .
     ll incurred to constmct and operate the treatment systems mentioned above, amounts
1311.                                                               ..                            .            .            .
     11 incur?ed to pay for replacement water and additional amounts incurred in connection
     ll with the County's various agreements, including its agreement with the City of
1511.                ...                                                      .                       .
     ll Rialto. During this period, ICSOP had no opportumty to work with the County to
1611 .. .                           . ..
     11 mimmize expense and liability.
17
                (3) ICSOP was deprived of the opportunity to obtain information
1811                            .                             ..
     ll contemporaneously with the County' s negotiation of the settlement agreements and
1911                                       .                              .               .                            ..
     ll CAO 98-96. ICSOP was deprived of the opportumty to provide the County with its
2011.                .                                                                                                  .
     11 input regarding the proposed settlement agreements and CAO 98-96, both of which
21
        impose obligations on the County that go beyond obligations required by federal and
     ll state regulatory authorities in connection with remediation of VOC's emanating
2311                                                 .                            .
     11 from the MVSL. ICSOP was deprived of the opportumty to conduct an
     ll investigation into the alleged claims contemporaneously with the asserhon of the
     ll alleged claims, thereby preludicing ICSOP' s ability to fully investigate and evaluate
26 11                                          . .                       ..                   .                    .
     ll coverage under the ICSOP Policies. ICSOP's ability to explain what actions would
2711                            ..                              .                                         ..
     ll have been taken had timely notice been provided also has been pre.ludiced due to the
2811.                    ..            ..                 .
     ll failure to provide timely notice in the first instance.
                Eighth Affirmative Defense
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1

2
                ICSOP has paid the County $9 million as reimbursement for costs the County
3
        allegedly has incurred in response to CAO 98-96.
4
                Ninth Affirmative Defense
s
                (l ) The settlement agreements the County entered with the Water Companies
6
        required the County to assure that water produced from the Water Companies' wells
7
        meets the Iowest concentration achievable by use of best available treatment
8
        technology currently or as hereafter required by any state or federal agency with
9
     ll jurisdiction over drinking water quality for any groundwater extraction well operated
10 11
     ll by the Water Companies. This agreement requires the County to treat groundwater
1111
     ll even after contaminant levels are below Maximum Contaminant Levels ("MCL") set
12 11
     ll by federal or state agencies. The settlement agreements with the Water Companies
13 11
     ll do not provide the County with any means or method by which to terminate
14 11
     ll obligations under the agreements.
15 it

16
                (2) As a result of the County' s agreements with the Water Companies, the
17 ll costs the County will incur for operation and maintenance of the corrective action
18 ll system will exceed by approximately $3.1 million what the County would have
19 ll incurred had it agreed to treat water until contaminants of concern fall below the
2o 11 MCL.
21
                Tenth Affirmative Defense
22

23
                (1 ) The settlement agreements the County entered with the Water Companies
24 ll required the County to assure that water produced from the Water Companies' wells
25 ll meets the lowest concentration achievable by use of best available treatment
26 ll technology currently or as hereafter required by any state or federal agency with
27 ll jurisdiction over drinking water quality for any groundwater extraction well operated
28 ll by the Water Companies. This agreement requires the County to treat groundwater
        even after contaminant levels are below Maximum Contaminant Levels (?MCL?) set

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 1


 2
          by federal or state agencies. The settlement agreements with the Water Companies
 3
          do not provide the County with any means or method by which to terminate
 4
          obligations under the agreements.
 s

 6
                 (2) As a result of the County's agreements with the Water Companies, the
 7
          costs the County will incur for operation and maintenance of the corrective action
 8
          system will exceed by approximately $3. 1 million what the County would have
9
          incurred had it agreed to treat water until contaminants of concern fall below the
          MCL.
 to

 11              Eleventh Affirmative Defense
 12
              (l) The County began making payments it attributes to its liability arising out
 13 11
      ll of CAO 98-96 in 1995. The County continued making such paytnents through at
 14 11
      ll least August 27, 2014.
15
                 (2) The County did not make a claim for loss to ICSOP until August 27, 2014.
16
                 (3) No final judgment has been entered against the County with respect to
" 11 CAO 98-96.
18
                 (4) ICSOP is not a party to the settlement agreements between the County and
19 11
      ll the Water Companies . CAO 98-96 was entered into without notice to ICSOP and
20 11
      ll ICSOP is not a party thereto.
21
                 Fourteenth Affirmative Defense
22

23               (1 ) The County alleges that it provided notice of the claims for which it now
24 ll seeks coverage to ICSOP in 1997 through the submission of a pollution legal
25 ll liability insurance policy application, that ICSOP should have investigated and
26 ll advised the County of whether the claims were covered under the ICSOP Policies,
27 ll that ICSOP should have paid the claim at that time and that ICSOP' s failure to do so
23 ll breached its obligations to the County. The County alleges that it incurred over
         $26.2 million between 1995 and August 27, 2014.

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1

2
                   (2) This action was filed on January 21, 2016 and the County filed its
3
       counterclaim on March 18, 2016, more than four years after the County alleges it
4
       provided notice to ICSOP of the claims and after the County began incurring costs in
s
- 11 connection with the claims.
6
? 11               8. ISSUESREMAININGTOBETRIED
7
                   In view of the admitted facts and the elements required to establish the claims,
8
       counterclaims and affirmative defenses, the following issues remain to be tried: (l )
9
       whether the property damage identified in the Order for which the County seeks
1011                                                                                                             .                           .
     11 coverage was caused by an occurrence or occurrences as that term is defined in the
11
       ICSOP Policies; (2) the number of occurrences that caused the property damage
1211.          .          .                                                                                              .           .           .
     ll identified in the Order; (3) whether any or all of the property damage identified in
1311                                       .                                                             .                       .
     11 the Order for which the County seeks coverage took place during the period of the
1411                          . .                                                               .
     ll ICSOP Policies; (4) whether ICSOP's refusal to provide coverage for the County's
     11 claim arising out of its obligations related to the Order constituted a breach of the
1611                          ..                                                    .
                                               .




     11 ICSOP Policies; (5) whether the County's claims are barred by the County's alleged
     11 failure to comply with Conditions G or H of the ICSOP Policies, including whether
1811                                                        .                ..                              .
     11 ICSOP was actually and substantially pre)udiced by the alleged failure to comply
1911.                         ..                                                        .                                                .
     11 with Condition G or H (ICSOP does not agree with the actually and substantially
2011..                                                                                                                       .
     ll pre)udiced language added by the County); (6) whether the County's claims are
2111                                                            .                           .       ..
     11 barred by the County's alleged failure to comply with Condition J of the ICSOP
     ll Policies, including whether ICSOP was actually and substantially pre)udiced by the
2311                  .                                 .               ..                                           .
     11 alleged failure to comply with Condition J (ICSOP does not agree with the actually
2411                               .               ..
     11 and substantially pre.)udiced language added by the County); (7) whether ICSOP's or
2511                                   .                                      .                                                          .
     11 the County's claims are barred by the doctrines of laches, unclean hands, waiver or
2611                                                                .                                   ...
     11 estoppel; (8) whether ICSOP's claims are barred by the doctrines of ratification,
2711..                                                      ..                                                           .
     ll un.)ust enrichment, or lack of pre)udice; (9) whether ICSOP breached its duty owed
2811                                                                         ...                    .                        .
     11 to the County (ICSOP does not agree this is an issue to be tried because it does not
       know the duty to which the County refers); and (10) whether the County's claims
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1

2
       are barred by the applicable statutes of limitations.
3
- 11                   9. DISCOVERY
4
                       All discovery is complete, except for the deposition of ICSOP's alleged
s
       rebuttal expert James A. Robertson, which ICSOP cancelled because of his illness
6
       and is now scheduled for July 19, 2017.
7
' 11                   10. DISCLOSURES
8
                       All disclosures under F.R.Civ.P. 26(a)(3) have been made.
9
                       The joint exhibit list of the parties has been filed under separate cover as
1011               .                                      .                        ..         .
     11 required by L.R. 16-6. 1. Unless all parhes agree that an exhibit shall be withdrawn,
11
       all exhibits will be admitted without objection at trial, except those exhibits listed
12
' 11 below:
13
                       ICSOP objects to Exhibit Nos. l-4, 8-11, 15, 35-36, 38, 44, 58-63, 84-86, 91,
14
       102, 119-123, 125-127, 206-227, 245-247, 253-255, 258-265, 268, 270, 281-287,
1511                                                          ..
     ll 289, 291-300, 302-305, 308-316. The ot)ections and grounds therefor are:
16
       No. of            Descri tion
17
       Exhibit
18

               1         August 21, 1997 AIG Quote to SB             ICSOP objects
19                                                                   FRE 401-403
                         County
20                                                                   Incomplete
                         (COUNTYOOO51465-51468)
21                       August 21, 1997 Fax                         ICSOP objects
           2
22
                         w/continuation of AIG Quote                 FRE 401-403


23
                         (COUNTYOOO5 1472-51475)

           3             September 11, 1997 AIG Quote                ICSOP objects
24
                         (COUNTYOOO51393-51397)                      FRE 401-403
25

26
           4             September 11, 1997 AIG Quote                ICSOP objects
                         with Markings                               FRE 401-403
27
                         (COUNTYOOO51398-51402)                      Incomplete
28




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1

2
         8    August 22, 1997 Select Policy                  ICSOP objects
3             Form Fax AIG to Nitz                           FRE 401-403
              (COUNTYOOO51476-51508)
4

         9    October 7, 1997 Fax enclosing                  ICSOP objects
s
              Pollution Liability Insurance                  FRE 401-403

6             Application
              (COUNTYOOO51454-51458)
7

         10   September 24, 1997 Pollution Legal ICSOP objects
8             Liability Application              FRE 401-403

9
              (COUNTYOOO5 1459-51464)

10       11   September 24, 1997 Attachment to               ICSOP objects
              Pollution Legal Liability                      FRE 401-403
11            Application                                    Incomplete
12
              (COUNTYOOO51403-51419)                         FRE901


13       15   June 9, 1997 'Norcal letter to San             ICSOP objects
                                                             FRE 401-403
14            Gabriel Valley Water Company

15            (CO[nSJTYOOO5 1426)

16      35    July 25, 1997 Pollution Legal                  ICSOP objects
              Liability Application                          FRE 401-403
17
              (COUNTYOOO 11184-11221 )                       FRE90l
18
        36
              October 29, 2008 Email from      ICSOP objects
19            Bloomfield to AIG attaching Memo FRE 401-403
              (COUNTYOOO50931 ;
20
              COUNTYOOO24487-24490)
21
        38    September 4, 1997 Robert Driver & ICSOP objects
22            Associates letter to SB County    FRE 401-403

23
              (COUNTYOOO11067-11071)

24      44    July 29, 2016 ICSOP's Responses to 1st         ICSOP objects
                                                             FRE 401-403
25            Set Rogs [Nos. 1-5] with Verification

26
        58    ICSOP Severity Claim-Set Notes                 ICSOP objects
              (ISOP 005632-5634)                             FRE 401-403
27

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2
        59
              Swett & Crawford Folder with           ICSOP objects
3             1997 Application and Attachments       FRE 401-403
                                                     FRE90l
4
                                                     Incomplete
s
        60    April 8, 2016 ICSOP's Answer to        ICSOP objects
6             Complaint                              FRE 401-403

7       61    January 25, 2008 Email from            ICSOP objects
              Schulz to Foggan                       FRE 401-403
8             (COUNTYOOO50830)
9
        62    November 14, 2007 Liability and        ICSOP objects
10
              Settlement Analysis by Gallagher       FRE 401-403
              and Gallagher
11            (COUNTYOOO50834-50930)
12
        63
              November 8, 2016 ICSOP's               ICSOP objects
              Responses to 2d Set Rogs [Nos. 6-      FRE 401-403
13
              16] with Verification
14
        84    August 25, 1997 Robert Driver          ICSOP objects
15            letter to SB County                    FRE 401-403
              (COUlSTTYOOOll073-11074)
16

        85
              March 17, 1998 Insurance               ICSOP objects
17                                                   FRE 401-403
              Summary and Declarations page
18            from Sirius Ins. Co.
              (COUNTYOOO5 1204-51219)
19

        86    January 8, 1998 Insurance policy       ICSOP objects
20
              from United Capital Ins. Co.           FRE 401-403

21            (COUNTYOOO5 1220-51250)

22      91    August 21, 1997 Email from             ICSOP objects
              Thompson to Corbett                    FRE 401-403
23            (COtTNTYOOOll075)
24
        102   June 5, 2015 Letter from McCurdy       ICSOP objects
              re Schulz                              FRE 401-403
25

        119   April 14, 2017 Walter J. Lipsman       See Obj. to 118.
26
              Expert Retention Agreement             ICSOP objects
27                                                   FRE 401-403

28




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l

2
            120   May 31, 2017 Supplemental Expert        ICSOP objects
3                 Opinion of Mitchell Lathrop             FRE 401-403
                                                          FRE 801-802
4
                                                          Legal opinion
s                                                         Daubert

6           121   May 17, 2017 Walter J. Lipsman          See Obj. to 118
                  Invoice                                 ICSOP objects
7                                                         FRE 401-403

8                 May 9, 2017 Expert Report of            ICSOP objects
            123
9
                  Jeffrey H. Kinrich including            FRE 801-802
                  exhibits and appendices
to
            125   [EDWARDS DEPO EXHIBITS]                 Subject to County and ICSOP
11                                                        objections stated and/or made at trial
12
            126   [HROMADKA DEPO EXHIBITS]                Subject to ICSOP objections stated
                                                          and/or made at trial
13

            127   [LATHROP DEPO EXHIBITS]                 Subject to ICSOP objections stated
14
                                                          and/or made at trial
15
           206    July 29, 2016 ICSOP Responses to        ICSOP objects
16                1st RFAs [Nos. l-31]                    FRE 401-403

17?        207    July 29, 2016 ICSOP Responses to        ICSOP objects
                  1st RFPs [Nos. l-23]                    FRE 401-403
18
           208    July 29, 2016 ICSOP Responses to        ICSOP objects
19                1st Rogs [Nos. l-5]                     FRE 401-403

20
           209    July 29, 2016 ICSOP Responses to        ICSOP objects
                  2nd RFPs [Nos. 23-32]                   FRE 401-403
21

           210    September 13, 2016 ICSOP Suppl          ICSOP objects
22
                  Responses to 1st RFPs [1-23]            FRE 401-403
23
           211    September 14, 2016 ICSOP Suppl          ICSOP objects
24                Responses to 1st RFAs [11, 12, 29,      FRE 401-403
                  30]
25

           212    September 15, 2016 ICSOP                ICSOP objects
26
                  Responses to 3rd RFPs [33-51]           FRE 401-403

27
           213    September 22, 2016 ICSOP's 2nd          ICSOP objects
28
                  Supplemental Responses to 1st           FRE 401-403
                  RFAs [No. 14]
     I                                                                                             l
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2
             214
                   November 8, 2016 ICSOP's                  ICSOP objects
3                  Responses to 2nd Set Rogs [6-16]          FRE 401-403

4            215
                   November 8, 2016 ICSOP's          ICSOP objects
                   Responses to 2nd Set RFAs [32-61] FRE 401-403
s
             216   May 1, 2017 ICSOP's Responses to          ICSOP objects
6                  3rd Set of RFAs [62-88]                   FRE 401-403

7
             217   May 1, 2017 ICSOP's Responses to ICSOP objects
8
                   3rd Set Rogs [17-25]             FRE 401-403

             218   May 1, 2017 ICSOP's Responses to ICSOP objects
9
                   4th Set RFPs [52-63]             FRE 401-403
to
             219
                   June 7, 2016 ICSOP's Amended              ICSOP objects
11                 Initial Disclosures                       FRE 401-403

12 l         220   May 12, 2017 ICSOP's Expert               ICSOP objects
                   Witness Disclosures                       FRE 401-403
13
             221   June 9, 2017 ICSOP's Rebuttal             ICSOP objects
14                 Expert Disclosure                         FRE 401-403

15
             222   May 10, 2017 Expert Report of             ICSOP objects
16
                   John E. Edwards including                 FRE 801-802
                   appendices                                Legal opinion
17
             223   May 12, 2017 Expert Report of             ICSOP objects
18                 Theodore V. Hromadka, II                  FRE 801-802
                   including figures and appendices          Daubert
19

            224    May 10, 2017 Expert Report of             ICSOP objects
20
                   Mitchell L. Lathrop including             FRE 401-403
21                 exhibits                                  FRE 801-802
                                                             Daubert
22
                                                             Legal opinion
23
            225    May 31, 2017 Supplemental Expert          ICSOP objects
24                 Opinion of Mitchell Lathrop               FRE 410-403
                                                             FRE 801-802
25
                                                             Legal opinion
26                                                           Work product

27 l        226    June 9, 2017 Rebuttal Expert              ICSOP objects
                   Report of Theodore V. Hromadka,           FRE 401-403
28
                   II including figures and appendices       FRE 801-802
                                                             Daubert
     11                                                                         I


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1

2
       227   June 7, 2017 Rebuttal Expert             ICSOP objects
3            Report of John E. Edwards                FRE 801-802
                                                      Legal opinion
4

       245   Bechtel, 1993, Expanded Site             ICSOP objects
s
             Inspection, Site EPA ID Number:          FRE 401-403

6            CAT 080029630, December 9,
             1993
7
             (COUNTYOOO50963-50993)
8            CH2MHill, 2006, Modeling the             ICSOP objects
       246
9
             Fate of a Perchlorate Release at the     Untimely production
             l 60-Acre Parcel in Rialto,
10           California

11           (COUNTYOOO83126-83140)

12     247   Dames & Moore, 1992. Storrnwater ICSOP objects
             Pollution Prevention Plan for            Untimely production
13           Stormwater Runoff. September
             1992.
14
             (COUNTYOOO83141-83167)
15
       253   Geo-Logic Associates, 2007, Final        ICSOP objects
16           Closure Plan Former Broco                FRE 401-403

17
             Treatment, Storage, & Disposal
             Facility. March 2007
18           (COUNTYOOO67355-68324)
19
       254   Ravi, V., Johnson, J. A., 1997,          ICSOP objects
             VLEACH A one-dimensional finite          Untimely production
20
             difference vadose zone leaching
21           model, Version 2.2, Center for
             Subsurface Modeling Support,
22
             USEPA RSKERL, Ada, OK
23           (COUNTYOOO83168-83237)
24     255
             Rosenbloom, J. et al., 1993,             ICSOP objects
             Application of VLEACH to vadose          Untimely production
25
             zone transport of VOCs at an
26           Arizona superfund site, Ground
             Water Monitor. Remed.
27
             (COUNTYOOO83238)
28




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l


2
             258
                   SB County Solid Waste                   ICSOP objects
3                  Management Department, 1991.            FRE 401-403
                   Drainage & Erosion Control              Untimely production
4
                   Construction at Mid-Valley
s                  Landfill for the County of San
                   Bernardino, Septemberl991
6
                   (COUNTYOOO83239-83248)
7
             259   SB County Solid Waste                   ICSOP objects
8                  Management Division, 2001. Fill         FRE 401-403
                   Sequence Plan Unit 2 Phase 3,           Untimely production
9
                   August 2001
10                 (COUNTYOOO83250)

11 l         260   SB County Solid Waste                   ICSOP objects
                   Management Division, 2001. Fill         FRE 401-403
12
                   Sequence Plan Unit l Phase 1,           Untimely production
13                 August 2001
                   (COUNTYOOO83249)
14
             261   United States 96th Congress, House ICSOP objects
15                 of Representatives, Committee on    FRE 401-403

16
                   Interstate and Foreign Commerce     Untimely production
                   Subcommittee on Oversight and
17                 Investigations, Waste Disposal Site
18
                   Survey Report together with
                   Additional and Separate Views,
19                 October 1979

20
                   (COUNTYOOO83251-83790)

21 I         262   United States 96th Congress, House ICSOP objects
                   of Representatives, Committee on    FRE 401-403
22                 Interstate and Foreign Commerce     Untimely production
23
                   Subcommittee on Oversight and
                   Investigations, Waste Disposal Site
24                 Survey Report together with
25
                   Additional and Separate Views,
                   October 1979 - Waste Disposal
26                 Site Survey - Forms A through D
27
                   (COUNTYOOO83791-83833)

             263   Historical Aerial Photograph            ICSOP objects
28
                   (Appendix D for Hromadka Expert         FRE90l
                   Report)
       l


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1

2
            264   Historical Topographic Maps                See objections to 223
3                 (Appendix C for Hromadka Expert            FRE901
                  Report)
4

            265   April 16, 2007 Declaration of Gary         ICSOP objects
s                 Lass in the matter of Perchlorate          FRE 401-403

6
                  contamination at a 1 60-acre site in       FRE 801-802
                  the Rialto area.                           Untimely production
7
                  (COUNTYOOO83834-83838)
8                 San Bernardino County, Auditor             ICSOP objects
            268
                  Division                                   FRE 401-403
9
                  (COUNTYOOO59082)
10
            270   July 14, 2014 Deposition of Claudia ICSOP objects that this is testimony,
11                Rozzi                               not a proper exhibit
12
            281   Cal Recycle: Facility/Site Summary ICSOP objects
                  Details: Mid-Valley Sanitary       Untimely production
13
                  Landfill, available at:
14                http://www.calrecycle.ca.gov/SWF
                  acilities/Directory/3 6-AA-
15
                  0055/Detail
16                (COUNTYOOO83839-83840)
17
            282   April21, 2017 Deposition of Ken            ICSOP objects that this is testimony,
                  Hernandez                                  not a proper exhibit
18

            283   April 13, 2017 Deposition of James         ICSOP objects that this is testimony,
19
                  Falbo                                      not a proper exhibit
20
            284   April 26, 2017 Deposition of               ICSOP objects that this is testimony,
21
                  Michele Mehl                               not a proper exhibit

22          285   April 27, 2017 Deposition to Royce         ICSOP objects that this is testimony,
                  Knight                                     not a proper exhibit
23
            286   January 25, 2008 Letter from               ICSOP objects FRE 401-403
24                Schulz to Foggan                           Settlement communication

25
                  (CO[JNTYOOO50831-50833)

            287   April 28, 2017 Deposition of Gerry         ICSOP objects that this is testimony,
26
                  Newcombe                                   not a proper exhibit
27
            289
                  December 29, 2014 Claims                   ICSOP objects FRE 401-403
28                Handling Guidelines and Policy
                  (LMO22372-22395)
     ir
                                                                                                     l




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 1

2
         291
               October 29, 2004 Fontana Water          ICSOP objects
3              Company letter to CA Regional           Untimely production
               Water Quality Control Board
4
               (COUNTYOOO82911-82969)
s
         292   MVSL - Historical Summary -             ICSOP objects
6              Monitoring Well F-4 (Abandoned)         Untimely production
               (COUNTYOOO82970)                        Incomplete
7
               Well Data - F-OA                        ICSOP objects
         293
8              (COUNTYOOO82971-82982)                  Untimely production
                                                       FRE90l
9

 10      294
               Well Data - F-OB                        ICSOP objects
               (COUNTYOOO82983-82986)                  Untimely production
 11                                                    FRE90l

 12
        295
               Well Data - F-l OC                      ICSOP objects
               (COUNTYOOO82987-82988)                  Untimely production
 13
                                                       FRE90l
 14
        296    Fontana Water Company Water             ICSOP objects
 15            Well Levels Data - Well F-1 3A          Untimely production
               (COUNTYOOO82989-82993)                  FRE90l
16
               Well Data - #35                         ICSOP objects
        297
17
               (COUNTYOOO82994-83001)                  Untimely production
18                                                     FRE90l

19      298
               Well Data - F-49A                       ICSOP objects
               (COUNTYOOO83002-83003)                  Untimely production
20                                                     FRE901

21             Figure 4 - Combined Pumping in          ICSOP objects
        299
22
               Model Area by City of Rialto,           Untimely production
               FWC, and WVWD                           FRE901
23             (COUNTYOOO83004-83013)
24
        300    FWC - Historical Summary Data -         ICSOP objects
25
               Monitoring Well F-l OB                  Untimely production
               (COtTNTYOOO830l4-83081)                 FRE90l
26                                                     Incomplete
27
        302    January 7, 1958 County Grant Deed ICSOP objects
               (COUNTYOOO83841-83842)            Untimely production
28




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1

2
            303    August 9, 1971 County Trustee's          ICSOP objects
3                  Deed                                     Untimely production
                   (COUNTYOOO83843-83845)
4

            304    August 28, 1972 County Grant             ICSOP objects
s                  Deed                                     Untimely production
6                  (COUNTYOOO83848-83849)

7           305    June 15, 1973 County Grant Deed          ICSOP objects
                   (COUNTYOOO83846-83847)                   Untimely production
8
            308    County Backup Costs                      ICSOP objects as "exhibit consists
9                  (COUNTYOOO 12213-16325)                  of thousands of pages containing
to
                                                            multiple documents that are not
                                                            properly described
11                                                          FRE 401-403

12
            309    County Backup Costs                      ICSOP objects as exhibit consists
                   (COUNTYOOO16326-18200)                   of thousands of pages containing
13
                                                            multiple documents that are not
14                                                          properly described
                                                            FRE 401-403
15

            310    County Backup Costs                      ICSOP objects as exhibit consists
16
                   (COUNTYOOOl8259-23285)                   of thousands of pages containing
17                                                          multiple documents that are not
                                                            properly described
18
                                                            FRE 401-403
19
            311    County Backup Costs                      ICSOP objects as exhibit consists
20                 (COUNTYOOO23286-23596)                   of hundreds of pages containing
                                                            multiple documents that are not
21
                                                            properly described
22                                                          FRE 401-403

23          312    County Backup Costs                      ICSOP objects as exhibit consists
                   (CO[JNTYOOO23597-24055)                  of hundreds of pages containing
24
                                                            multiple documents that are not
25                                                          properly described
                                                            FRE 401-403
26

            313
                   March 14, 2017 Roux Associates,          ICSOP objects FRE 401-403
27
                   Inc. Expert Retention Agreement
28
             314
                   March 17, 2017 Roux Associates,          ICSOP objects FRE 401-403
                   Inc. Invoice
     11
                                                                                                 I




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1

2
       315      April 14, 2017 Roux Associates,          ICSOP objects FRE 401-403
3               Inc. Invoice

       216      May 12, 2017 Roux Associates,            ICSOP objects FRE 401-403
                Inc. Invoice
s
              The County objects to Exhibit Nos. 51, 70-75, 78-79, 93-94, 101, 114, 118-
6
     119, 121, 125, 128, 201-202, 228-229, 270, 282-285, 287, 307, and 317. The
7
     objections and grounds therefor are:
8

                Descri tion
9

101 Exhibit
11      51      July 31, 2015 Letter from County to County objects:
12              ICSOP                                    FRE 401-403 (settlements not
13              (COU1STTYOOOO6628- 6630)                 broader than Order)
14
        70      Febmary 20, 1998 Memo from               County objects:
15
                Gary Kovall and Joel Moskowitz to        FRE 401-403
16
                Conway Collis                            FRE 408
17
                (COUNTYOOOl2080-12081)                   FRE901
18
                                                         Privileged
19
        71      August 7, 1998 Letter from Dixie         County objects:
20
                Lass to Gerry Newcombe                   FRE 401-403
21
                (COUNTYOOO48940)                         FRE 408
22
                                                         FRE901
23
                                                         Privileged
24

25
         72     September 1, 1998 Email and              County objects:

26
                attachment from Gary Kovall to           FRE 401-403 (settlements not

27
                Gindler Burton                           broader than Order)

28
                (COUNTYOOOll304-11308)



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1

2
         73   September 15, 1998 Interoffice           County objects:
3
              memo from Gerry Newcombe to              FRE 401-403 (settlements not
4
              the Board of Supervisors                 broader than Order)
s
              (COUNTYOOO11295-11296)
6

7
         74 iOctober6,1998Facsimilefrom iCountyobjects:
8
              Dixie Lass to Gerry Newcombe and i FRE 401-403
              attachment                               FRE90l
9

tO
              (COtJNTYOOO51173-51180)

11       75   November 10, 1998                        County objects:
12            Report/recommendation by County          FRE 401-403 (settlements not
13                                                     broader than Order)
14
         78   November 17, 1998                        County objects:
15
              Report/recommendation by County          FRE 401-403 (settlements not
16
                                                       broader than Order)
17
         79   May 16, 2000                             County objects:
18
              Report/Recommendation to Board           FRE 401-403 (settlements not
19
              of Supervisors enclosing Fontana         broader than Order)
20
              Union Water Settlement Agreement
21

22
         93   July 15, 1998 Facsimile and              County objects:

23            attachment from Gerry Newcombe           FRE 401-403 (settlements not

24            to Pamela Thompson                       broader than Order)

25            (CO[JNTYOOO11032-11034)

26       94   September 30, 2002 Letter from           County objects:
27            Pamela Thompson to United                FRE 401-403

28            National Insurance Company
              (COUNTYOOO48953-48956)

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 1

2
          101   May 10, 2017 Expert Report of             The County will object to witness
3
                Adam H. Love, Ph.D. including             testimony and report under Daubert
4
                exhibits [subject to objection]           and legal opinion
s


6
          114   June 6, 2017 Expert Rebuttal              The County will object to witness

7
                Report of Adam H. Love, Ph.D.             testimony and report under Daubert

8
                [subject to objection]                    and legal opinion

9         118   May 8, 2017 Expert Witness Report The County will object to witness
10              of Walter J. Lipsman [subject to          testimony and report under Daubert
 11             obj ection]                               and legal opinion
 12
          119   April 14, 2017 Walter J. Lipsman          See Obj. to 118.
 13
                Expert Retention Agreement                Relevance
 14
          121   May 17, 2017 Walter J. Lipsman            See Obj. to 118
 15
                Invoice                                   ICSOP objects FRE 401-403
 16

 17
          125   [EDWARDS DEPO EXHIBITS]                   Subject to County and ICSOP

 18                                                       objections stated and/or made at trial

 19       128   [ROBERTSON DEPO EXHIBITS]                 The County will object to witness
20              [subject to objection]                    testimony and report under Daubert
21                                                        and legal opinion
22
          201   May 12, 1998 Letter from Terry            County objects:
23
                Cook to Conway Collis                     FRE 401-403
24
                (COUNTYOOO5 1269)                         FRE90l
25
          202   May 15, 1998 Letter from Conway           County objects:
26
                Collis to Fontana Water Company           FRE 401-403
27
                (COUNTYOOO12053-12054)                    FRE90l
28




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1

2
         228   June 9, 2017 Rebuttal Expert             The County will object to witness
3
               Report of James A. Robertson             testimony and report under Daubert
4
               including exhibits [subject to           and legal opinion
s
               obj ection]
6

7
         229   June 6, 2017 Rebuttal Expert             The County will object to witness

8
               Report of Adam H. Love, Ph.D.            testimony and report under Daubert

9
               [subject to objection]                   and legal opinion

10       270   July 14, 2014 Deposition of Claudia Subject to County objections stated
11             Rozzi                                    and/or made at trial ICSOP objects
12                                                      that this is testimony, not a proper
13                                                      exhibit

14
         282   April21, 2017 Deposition of Ken          Subject to County objections stated
15
               Hernandez                                and/or made at trial ICSOP objects
16
                                                        that this is testimony, not a proper
17
                                                        exhibit
18
         283   April 13, 2017 Deposition of James       Subject to County objections stated
19
               Falbo                                    and/or made at trial
20
                                                        ICSOP objects that this is testimony,
21
                                                        not a proper exhibit
22

23
         284   April 26, 2017 Deposition of             Subject to County objections stated
               Michele Mehl                             and/or made at trial
24

25                                                      ICSOP objects that this is testimony,

26                                                      not a proper exhibit

27

28




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1


2
            285     April 27, 2017 Deposition to Royce Subject to County objections stated
3
                    Knight                                    and/or made at trial
4
                                                              ICSOP objects that this is testimony,
s
                                                              not a proper exhibit
6

7
           287      April 28, 2017 Deposition of Gerry Subject to County objections stated

8
                    Newcombe                                  and/or made at trial ICSOP objects

9
                                                              that this is testimony, not a proper
                                                              exhibit
10


it i        307     June 15, 2017 Deposition of Adam          Subject to County objections stated
12                  H. Love, Ph.D. [subject to                and/or made at trial as well as

13                  obj ection]                               Daubert and legal opinion objections
14
            317     Numerical Groundwater Flow                County objects:
15
                    Model Report, Rialto Colton Basin,        FRE 401-403
16
                    June 2012 CH2MHILL
17
- 11              11. WITNESSLISTS
18
                  Witness lists of the parties have been filed with the Court.
19
                  Only the witnesses identified in the lists will be permitted to testify (other than
20 11
     ll solely for impeachment).
21
                 The County has marked depositions it may present as evidence in accordance
22 11
     ll with L.R. 16-2.7. ICSOP has marked depositions it may present as evidence in
23 11
     ll accordance with L.R. 16-2.7. For this purpose, the following depositions shall be
24 II
     ll lodged with the Clerk as required by L.R. 32-l
                                                    -l: Michele Mehl, Royce Knight, James
25 II
     ll Falbo, and Pamela Thompson.
26
                 The County objects to the presentation of testimony by deposition of Pamela
27 11
     ll Thompson on the ground that her testimony is irrelevant. , and if such testimony is
28 11
     ll allowed, the County objects to the deposition to the extent she is available as a
        witness. FRE 401-403. ICSOP objects to the presentation of testimony by
        62880                                          -61-

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1

2
       deposition of James Falbo on the ground that his testimony is irrelevant. FRE 401-
3
       403. Both parties object to the presentation of deposition testimony that does not
4
       satisfy the requirements of FRCP 32(a).
s

6
" 11               12. LAWANDMOTIONMATTERSANDMOTIONSINLIMIINE
7
                   The following law and motion matters and motions in limine, and no others,
8
       are pending and contemplated: Three motions are currently pending with a hearing
9
       set for July 21, 2017 - (1 ) the County' s motion for partial summary judgment on
1011 .                                       .                  .          .                  .
     11 notice; (2) the County's motion for reconsideration; and (3) ICSOP's motion for
1111           .             .
     11 partial summary 3udgment on number of occurrences and attorneys ' fees.
12
                   The County anticipates the following additional motions: (l) County motion
1311...                              .                                 .              .
     11 in limine to exclude testimony and related evidence of Walter J. Lipsman; (2)
     11 County motion in limine to exclude or limit testimony and related evidence of Dr.
1511                                                     ..                    ....
     ll Adam Love's first and second opimons; (3) County motion in limine to exclude or
1611...                                          .                              .
     11 limit testimony and related evidence of Dr. Adam Love's third, fourth, and fifth
     11 opimons; (4) County motion in limine to exclude or limit testimony and evidence of
1811                                                          ....                        .
     11 James A. Robertson,; (5) County motion in limine to exclude non-disclosed
     11 evidence; (6) County motion in limine to exclude mediation commumcations and
     11 notice issues; (7) County motion in limine to exclude testimony and evidence
     ll contrary to Califorma law; (8) County motion in limine to exclude testimony and
2211.                                    .                                     ....
     ll evidence contrary to the Policy language; (9) County motion in limine to exclude
     11 evidence of pre)udice caused by settlements; (10) County motion in limine regarding
2411                                                     ....                                     ..
     ll lost documents; (11) County motion in limine to preclude experts from testifying as
     11 to legal opimons; and (12) County motion in limine re: no references to anti-stacking
2611                                                 .
     ll order by the Court and related items.
27
                   ICSOP anticipates the following additional motions: (l) ICSOP motion in
     ll limine to exclude testimony of Ken Hernandez; (2) ICSOP motion in limine to
       exclude testimony of Mitchell Lathrop; (3) ICSOP motion in limine to exclude
       62880                                                    -62-

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2
        testimony of James Falbo; (4) ICSOP motion in limine to preclude or limit
3
        testimony of Theodore Hromadka; (5) ICSOP motion in limine to preclude use of
4
        documents produced after discovery cutoff date; and (6) ICSOP motion regarding
s
        deposition of Gary Lass.
6
? 11                    13. BIFURCATION
7
                        Bifurcation of the following issues for trial is ordered. None.
8
                        14. The foregoing admissions having been made by the parties, and the
9
        parties having specified the foregoing issues remaining to be litigated, this Final
1011                .                                                  .
     11 Pretrial Conference Order shall supersede the pleadings and govern the course of the
     ll trial of this cause, unless modified to prevent mamfest in)ustice.
12

13
"- ll Dated:                                             ,20
14

15

16
                                                                                 Hon. Philip S. Gutierrez
17

18 11
     ll Approved as to form and content.
19

20

21

2211            .
     11 Kevin G. McCurdy, Attorney for ICSOP
23

24


25

26 11                      .
     ll Marc Maister, Attorney for the County
27

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